Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 1 of 63




             Exhibit G
          Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 2 of 63




                                                                   NORTH CAROLINA LAW REVIEW
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Is the Electoral Count Act Unconstitutional
Vasan Kesavan




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Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 3 of 63




               IS THE ELECTORAL COUNT ACT
                    UNCONSTITUTIONAL?

                                       VASAN KESAVAN"


       This Article takes on one of the most unasked questions of Bush v.
       Gore-whether the Electoral Count Act, the federal statutory
       scheme at issue in that case, is constitutional. Enacted in 1887 and
       hardly discussed for the past 114 years, the Electoral Count Act
      sets forth complicated regulationsfor counting (and not counting)
       electoralvotes. This Article arguesthat Section 15 of Title 3 of the
       United States Code, the heart of the Electoral Count Act, is
       unconstitutional.

       Since 1800, Congress has attempted to enact legislation regulating
       the electoral count,finally succeeding in 1887. This Article traces
       these principalcongressionalefforts to regulatethe electoralcount
      and the surroundingconstitutionaltext and structure to show why
      the Electoral Count Act is unconstitutional. The Electoral Count
      Act may seem like a good statutory scheme to deal with the
      problems of the electoral count, but not every good statutory
      scheme is a constitutional one. Some problems may only be
      remedied by constitutional amendment, not by statute. Anyone
       who wishes to argue that the Electoral Count Act is constitutional
       bearsa very high burden ofproof.

INTRODUCTION .....................................................................................   1655
I.   THE HISTORY OF THE ELECTORAL COUNT ...........................                                  1663
         A. CongressionalEfforts to Regulate PresidentialElection
               and the ElectoralCount ......................................................         1664
                1. Act of March 1, 1792 .....................................................        1664

     * Vice President, Francisco Partners. J.D., Yale Law School, 2001; B.A.S., B.S.,
B.A., University of Pennsylvania, 1995. For their helpful comments and suggestions,
thanks to Bruce Ackerman, Akhil Amar, Robert Bennett, Steven Calabresi, Joel
Goldstein, Neal Katyal, Kumar Kesavan, Jennifer Koester, Michael Paulsen, Nick
Rosenkranz, Stephen Siegel, Laurence Tribe, and John Yoo. I also wish to thank
Professor Ellen Peters for supervising the initial drafting of this Article in her federalism
seminar at Yale Law School in the fall of 1999, a year before Bush v. Gore, and the editors
of the North Carolina Law Review for their excellent editing. The author disclaims any
prescience in writing about the Electoral Count Act.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 4 of 63

 1654             NORTH CAROLINA LAW REVIEW                               [Vol. 80

             2. The Grand Committee Bill of 1800 ............................. 1669
            3. The Twenty-second Joint Rule of 1865 ...................... 1675
            4. The Electoral Count Act of 1887 ................................ 1677
        B. The Problems of the ElectoralCount ................................ 1678
            1. The Massachusetts Incident of 1809 ........................... 1679
           2. The Indiana Incident of 1817 ....................................... 1680
            3. The Missouri Incident of 1821 ..................................... 1681
           4. The Postmaster and Michigan Incidents of 1837 ....... 1683
           5. The Wisconsin Incident of 1857 .................................. 1685
            6. The Greeley Incident and the Other Incidents of
               1873 ................................................                             1687
           7. The Hayes-Tilden Incident of 1877 ............................. 1688
           8. The Hawaii Incident of 1961 ........................................ 1691
            9. The Bailey Incident of 1969 ......................................... 1692
 II.    THE ARGUMENT AGAINST THE CONSTITUTIONALITY OF
        THE ELECTORAL COUNT ACT .................................................                1694
        A. The Textual Argument ........................................................ 1696
            1. Some Basics: Who, What, When, and Where? . . ....... 1696
               a. Who Is the Presiding Officer of the Electoral
                  Count? ......................................................................  1696
               b. Who Opens the Electoral Certificates and
                  Counts the Electoral Votes? .................................. 1701
               c. What Is Counting and What Is To Be Counted?. 1711
               d. When Is the Counting Done? ................... . .. . . . .. . . .. . 1717
               e. Where Is the Counting Done? .................. . .. . . . .. . . .. . 1720
           2. Where Is the Font of Power? . . . . . . . . . . . . . . . . 1729
               a. The Necessary and Proper Clause ......................... 1731
               b. The Electoral College Clauses ............................... 1743
               c. Textual Arguments from Negative Implication... 1747
           3. The Intratextual Argument .......................................... 1748
               a. The Times, Places, and Manner Clause ................ 1749
               b. The House Judging Clause .............................                         1752
           4. Conclusions ....................................................................   1758
        B. The StructuralArgument .................................................... 1759
           1. Five Principles of Presidential Election ...................... 1759
               a. The Anti-Senate Principle ...................................... 1759
               b. The Anti-Congress Principle ................................. 1764
               c. The Anti-President Principle ................................. 1767
               d. The Pro-States and Pro-State Legislatures
                  Principle .................................................................... 1769
               e. The Pro-Electors Principle ..................................... 1774
           2. Principles of Rule-Making and Law-Making ............. 1779
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 5 of 63

 1656               NORTH CAROLINA LAW REVIEW                                      [Vol. 80

      The first three of these questions might seem downright
 outlandish, and prior to the presidential election of 2000, the fourth
 was too. Now is a good time to remember that these four questions
 were not at all outlandish in the spring of 1800 when America faced
 her first electoral crisis of "Jefferson v. Adams. '3                       These four

      3. The presidential election of 1800 and the electoral count of 1801 were truly a
 constitutional crisis of the first magnitude, leading to the adoption of the Twelfth
 Amendment in 1804. The electoral count on February 11, 1801 was inconclusive because
 there were two persons who had the requisite majority of the whole number of electors
 appointed. (The original Constitution did not require or even permit electors to cast
 separate votes for President and Vice President). Democrat-Republican and then-Vice
 President Thomas Jefferson and Democrat-Republican Aaron Burr each received
 seventy-three votes; Federalist and then-President John Adams and Federalist Charles C.
 Pinckney received sixty-five and sixty-four votes, respectively; Federalist John Jay
 received one vote.
           The choice of President thus devolved on the House of Representatives. U.S.
 CONST. art. II, § 1, cl. 3 provides:
      The Person having the greatest Number of Votes shall be the President, if such
      Number be a Majority of the whole Number of Electors appointed; and if there
      be more than one who have such Majority, and have an equal Number of Votes,
      then the House of Representatives shall immediately chuse by Ballot one of
      them for President ....But in chusing the President, the Votes shall be taken by
      States, the Representation from each State having one Vote ....
 The House, controlled by Federalists, was forced to choose between Democrat-
 Republicans Jefferson and Burr. On February 11, the House balloted nineteen times with
 no success: each time eight states voted for Jefferson, six for Burr, and two were divided.
 On February 12, the House balloted nine times with no success; on February 13, once;
 February 14, four times; and February 16, once. On February 17, after another such
 round, the House chose a President-elect on the thirty-sixth round of balloting: ten states
 voted for Jefferson, four for Burr and two did not vote. For the basic facts of the election
 of 1800 and the electoral count of 1801, see BERNARD A. WEISBERGER, AMERICA
 AFIRE: JEFFERSON, ADAMS, AND THE REVOLUTIONARY ELECTION OF 1800, at 227-77
 (2000).
           To complicate this saga further, Democrat-Republicans Jefferson and Burr only
 had a majority of the whole number of electors appointed because Vice President
 Jefferson, presiding over the electoral count, decided to count four "improper" votes from
 the State of Georgia in favor of Jefferson-Burr. See infra note 230 and accompanying text.
 Without these votes, Jefferson and Burr would have had sixty-nine votes each, exactly one
 half and not a majority of the whole number of electors appointed, and the choice of
 President would have devolved on the House of Representatives. But importantly, the
 original Constitution provided that "if no Person have a Majority, then from the five
 highest on the List the said House in like Manner chuse the President." U.S. CONST. art.
 II, § 1, cl. 3 (emphasis added). There is little doubt that the Federalist-controlled House
 would have elected Federalists John Adams and Charles C. Pinckney as President and
 Vice President, respectively.
           Perhaps most intriguingly, the Federalist-controlled Legislature of Maryland,
 aware of the popular support for Democrat-Republicans Jefferson-Burr,
       seriously contemplated that the legislature should repeal the law under which the
       electors were chosen by the people, and should choose them by the legislature;
       and this on the avowed ground that it was necessary to defeat the candidate
      whom it was supposed that the majority of the people preferred.
 HOUSE SPECIAL COMMITTEE, COUNTING ELECTORAL VOTES, H.R. MIsc. Doc. No. 44-
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 6 of 63

2002]                        ELECTORAL COUNTACT                                                   1655

           a. The Anti-Binding Principle of Rule-Making ....... 1779
           b. The ChadhaPrinciple of Law-Making .................. 1787
        3. Conclusions ....................................................................          1793
III. WHAT SHOULD WE Do IF ELECTORS Go BANANAS? ....... 1793
     A. Answers to the ParadigmProblems of the Electoral
        Count ....................................................................................   1795
        1. The Problems of the Electoral Certificate ................. 1795
           a. The Unsigned, Uncertified, or Unsealed
                 Electoral Certificate Problem ................................ 1795
           b. The Puerto Rico, or Unrepublican State,
                 Electoral Certificate Problem ................................ 1796
           c. The Number of Electoral Votes Problem ............ 1797
           d. The Multiple Electoral Certificates Problem ....... 1799
           e. The Misdated Electoral Certificate Problem ....... 1799
           f. The Elector Ineligibility Problem .......................... 1802
        2. The Problems of the Electoral Vote ........................... 1804
           a. The Faithless Elector Problem .............................. 1804
           b. The Presidential or Vice Presidential
                 Ineligibility Problem ...............................................               1805
           c. The Inhabitants of the Same State Problem ........ 1805
        3. Conclusions ....................................................................          1808
     B. The Twentieth Amendment ................................................ 1808
     C. Revising the ElectoralCount Act ....................................... 1811
CONCLUSION ......................................................................................... 1812

                                        INTRODUCTON

      Bush v. Gore1 is history. We all have plenty to think about. So
here are four questions that are well worth considering before
Election Day 2004, or at least January 6, 2005, the date specified by
federal law for counting electoral votes 2 What if an elector votes for
a presidential or vice presidential candidate who is not a natural born
citizen, at least thirty-five years of age, and who has not been a
resident of the United States long enough? What if an elector who is
constitutionally ineligible to be an elector votes? What if an elector
votes for inhabitants of her state for both President and Vice
President? What if two sets of electors from the same state both
claim that they are the lawfully appointed electors of the state?



     1. 531 U.S. 98 (2000) (per curiam).
    2. See 3 U.S.C. § 15 (2000) ("Congress shall be in session on the sixth day of January
succeeding every meeting of the electors.").
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 7 of 63

2002]                     ELECTORAL COUNTACT                                           1657

questions were the paradigm problems of the electoral count debated
in the Sixth Congress.4 Federalist Senator Ross of Pennsylvania
firmly stated that "such cases might happen and were very likely to
happen."5     Democrat-Republican Senator Pinckney of South
Carolina, more sanguine, stated that these cases "may not happen
once in a century."' 6 In addition to these four problems of the
electoral count, a fifth problem has proved much more likely
throughout history: What if an elector is "faithless" and votes for a
President or Vice President in contravention of the popular vote?7

13, at 443 (1877) [hereinafter COUNTING ELECrORAL VOTES] (remarks of Sen.
Anthony). This should sound familiar. This action was not carried out, but had it been,
Maryland's ten electoral votes would have been given solely to Federalists Adams and
Pinckney, instead of having been given equally to Jefferson and Adams. Adams would
have received 70 votes; Pinckney 69 votes; Jefferson 68 votes; Burr 68 votes; and Jay 1
vote. Adams and Pinckney would have become President and Vice President respectively.
According to Senator Anthony, "[T]he election would have been strictly and
unquestionably legal and constitutional." Id. This point is subject to serious debate today.
There may be a constitutional right to vote for presidential and vice presidential electors,
at least in some cases. See U.S. CONST. amend. XIV, § 2; U.S. CONST. amend. XXIV;
Michael C. Dorf, We Need A Constitutional Right To Vote in Presidential Elections (Dec.
13, 2000), at http://writ.fndlaw.comtdorf/20001213.html (on file with the North Carolina
Law Review). But see Bush, 531 U.S. at 104 ("The State, of course, after granting the
franchise in the special context of Article II, can take back the power to appoint
electors.") (citation omitted).
        The presidential election of 1800 and the electoral count of 1801 is currently the
subject of a fascinating, timely, and forthcoming book by Professor Bruce Ackerman.
BRUCE ACKERMAN, AMERICA ON THE BRINK: THE CONSTITUTIONAL CRISIS OF THE
EARLY REPUBLIC (forthcoming 2002) (on file with the North Carolina Law Review). For
two rich discussions of the election of 1800, see generally Joanne B. Freeman, The Election
of 1800: A Study in the Logic of PoliticalChange, 108 YALE L.J. 1959 (1999); John J.
Janssen, Dualist Constitutional Theory and the Republican Revolution of 1800, 12 CONST.
COMMENT. 381 (1995). For a recent book-length treatment, see WEISBERGER, supra.
     4. For specific reference to these four questions, see, for example, 10 ANNALS OF
CONG. 29 (1800) (remarks of Sen. Ross); id. at 131 (remarks of Sen. Pinckney); id. at 133
(remarks of Sen. Pinckney).
     5. Id. at 29.
     6. Id. at 132.
     7. Thankfully, the problem has been a very small one, with approximately a dozen
electors of over 25,000 casting votes in opposition to the wishes of the voters in the course
of 213 years. See Beverly J. Ross & William Josephson, The Electoral College and the
PopularVote, 12 J.L. & POL. 665, 667 (1996). There is no consensus on the exact number
of faithless electors since the Founding. The paradigm case is that of Samuel Miles, a
Federalist elector from Pennsylvania, who in 1796, just eight years after the adoption of
the Constitution and in the third presidential election, voted for Democrat-Republican
Jefferson instead of Federalist Adams. This action prompted a Federalist voter to
exclaim: "Do I chuse Samuel Miles to determine for me whether John Adams or Thomas
Jefferson shall be President? No! I chuse him to act, not to think." E. STANWOOD, A
HISTORY OF THE PRESIDENCY 51 (August M. Kelley Publishers 1975) (1928).
         The faithless elector problem was of particular concern in the presidential election
of 2000: Any two faithless votes by Bush electors would have thrown the election into the
House of Representatives, and any three faithless votes would have thrown the election to
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 8 of 63

 1658                NORTH CAROLINA LAW REVIEW                                        [Vol. 80

      What does the Constitution say about these potential problems?
 The relevant text of the Constitution simply provides that "[t]he
 President of the Senate shall, in the presence of the Senate and House
 of Representatives, open all the certificates and the votes shall then
 be counted."8 It ought to be obvious that the Constitution does not
 provide any answers to these tricky problems of the electoral count.9
 The Framers and Ratifiers simply did not contemplate the
 possibilities of unconstitutional or faithless electoral votes.
      The critical question is whether we can fix the casus omissus of
 the Constitution short of constitutional amendment. The counting of
 the electoral votes is no trivial matter. It is the critical step in the
 election of the President and Vice President. As one leading scholar
 has stated, it seems to be "the magic, formal moment of vesting in
 which the winning candidate is elected as 'President.' "10 Some might
 quibble with this formalist point, but at the founding, when there
 were no telegraphs, telephones, or television, and when electoral

 former Vice President Gore. Going into December 18, 2000 (the date specified by federal
 law for the giving of electoral votes by the electors), the expected electoral count was 271
 votes for Bush and 267 votes for Gore. The final electoral count for President was 271
 votes for Bush and 266 votes for Gore. See 147 CONG. REC. H44 (2001). One Gore-
 Lieberman elector from the District of Columbia, protesting the District's lack of
 statehood, refused to cast her votes for President and Vice President. See Charles
 Babington, Electors Reassert Their Role; Bush Wins Vote; Protest Costs Gore, WASH.
 POST., Dec. 19,2000, at Al. For additional discussion of the faithless elector problem, see
 infra notes 176-191, 590-592 and accompanying text.
      8. U.S. CONST. amend. XII. The only differences between this text of the Twelfth
 Amendment and the text of the original Constitution are in punctuation and
 capitalization. See U.S. CONST. art. II, § 1, cl. 3 ("The President of the Senate shall, in the
 Presence of the Senate and House of Representatives, open all the Certificates, and the
 Votes shall then be counted."). The Twelfth Amendment overwrote U.S. CONST. art. II,
 § 1, cl. 3, but not two other clauses that relate to the Electoral College mode of
 presidential election, U.S. CONST. art. II, § 1, cls. 2, 4. For ease of exposition, I will
 variously refer to these clauses as the "Electoral College Clauses."
      9. As Justice Joseph Story described:
      In the original plan, as well as in the amendment, no provision is made for the
      discussion or decision of any questions, which may arise, as to the regularity and
      authenticity of the returns of the electoral votes, or the right of the persons, who
      gave the votes, or the manner, or circumstances, in which they ought to be
      counted. It seems to have been taken for granted, that no question could ever
      arise on the subject; and that nothing more was necessary, than to open the
      certificates, which were produced, in the presence of both houses, and to count
      the names and numbers, as returned.
 3 JOSEPH STORY, COMMENTARIES ON THE CONSTITUTION OF THE UNITED STATES
 § 1464, at 327 (1833) [hereinafter STORY'S COMMENTARIES]; see also 17 CONG. REC. 815
 (1886) (remarks of Sen. Sherman) (discussing specific problems of the electoral count); 18
 CONG. REC. 50-51 (1886) (remarks of Rep. Adams) (same).
     10. Akhil Reed Amar, Presidents, Vice Presidents, and Death: Closing the
 Constitution'sSuccession Gap, 48 ARK. L. REV. 215,217 (1995).
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 9 of 63

2002]                   ELECTORAL COUNTACT                                        1659
votes were more secret, there was no way of knowing the identity of
the winning candidates until the electoral votes were formally
counted. Recent history should be a powerful reminder of the
significance of the electoral count. One key lesson of the presidential
election of 2000 is that the President-elect is not elected by "We the
People" on election day, or even by the electors on the day they cast
their votes, but by the joint convention of the Senate and House of
Representatives on the day the electoral votes are formally counted.
     The counting function appears to be a ministerial duty of
tabulation imposed by the Constitution because each of the electoral
colleges meet in their respective states instead of at some central
location. Conventional wisdom holds that the joint convention of the
Senate and House of Representatives does the counting, and not the
President of the Senate, but this is not at all clear from the text of the
Electoral College Clauses. But does the counting function subsume
the power not to count? What about unconstitutional votes? What
about faithless votes?
     As is now somewhat well known, Congress has answered the
question whether the counting function subsumes the power not to
count affirmatively. The relevant statute is the Electoral Count Act
of 1887,11 presently codified at 3 U.S.C. §§ 5-6, 15-18. The heart of
the Electoral Count Act is undisputedly 3 U.S.C. § 15, a complicated
provision that sets forth rules for counting (and not counting)
electoral votes. In a nutshell, this section provides that in a case of
single returns, the joint convention may only reject electoral votes
that are not "regularly given" if both Houses of Congress concur.'2 In
a case of multiple returns from the same state, this section provides
that the joint convention may only accept electoral votes as "regularly
given" if both Houses of Congress concur (with a few important
wrinkles to be discussed later). 3 The meaning of the phrase
"regularly given"' 4 in § 15 is far from clear. The precedents of the
electoral count, however, strongly suggest that the joint convention
will not count unconstitutional votes, and possibly not faithless votes
either.
     While 3 U.S.C. § 15 sets forth the rules for counting (and not
counting) electoral votes, 3 U.S.C. § 5, the specific federal statutory
provision at issue in Bush v. Gore, sets forth the so-called "safe

    11. Act of Feb. 3, 1887, ch. 90, 24 Stat. 373 (codified as amended at 3 U.S.C. §§ 5-
6, 15-18 (2000)).
    12. See 3 U.S.C. § 15 (2000).
    13. See id
    14. Id.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 10 of 63

  1660               NORTH CAROLINA LAW REVIEW                                      [Vol. 80

  harbor" provision for counting electoral votes with respect to a state's
  determination of any controversy or contest concerning the
  appointment of its electors. 5 Bush v. Gore indicates that there must
  be nine votes on the Supreme Court for the proposition that 3 U.S.C.
  § 5 is constitutional. Although neither party briefed or argued the
  constitutionality of this provision of the Electoral Count Act, each of
  the Justices       must have reached               an    independent,16
                                                                                antecedent
  determination that 3 U.S.C. § 5 passes constitutional muster.
  Curiously, Bush v. Gore, for all that it did address regarding
  presidential election, did not address the heart of the Electoral Count
  Act-3 U.S.C. § 15. Only Justice Breyer, with Justices Stevens and
  Ginsburg concurring, even mentioned this key section, and he did so
  approvingly. 7 The prevailing wisdom, in the Supreme Court and
  elsewhere, is that the Electoral Count Act is constitutional?

     15. Id. § 5.
     16. Needless to say, this assumes that each of the Justices was doing his or her job,
 and not violating his or her oath to support the Constitution, see U.S. CONST. art. VI, cl. 3,
 which is an assumption that may beget controversy, depending on one's jurisprudential
 (political?) preferences.
     17. See 531 U.S. 98, 153-54 (2000) (Breyer, J., dissenting) ("[T]he Twelfth
 Amendment commits to Congress the authority and responsibility to count electoral votes.
 A federal statute, the Electoral Count Act, enacted after the close 1876 Hayes-Tilden
 presidential election, specifies that, after States have tried to resolve disputes (through
 'judicial' or other means), Congress is the body primarily authorized to resolve remaining
 disputes."); id. at 155 (Breyer, J., dissenting) ("Given this detailed, comprehensive scheme
 for counting electoral votes [3 U.S.C. § 15], there is no reason to believe that federal law
 either foresees or requires resolution of such a political issue by this Court."). Others
 have similarly argued that the "political question doctrine," see, e.g., Baker v. Carr, 369
 U.S. 186, 217 (1962), counsels (if not requires) that the Supreme Court should not have
 entered the fray in the presidential election of 2000. See, e.g., Laurence H. Tribe, Erog v.
 Hsub and Its Disguises: FreeingBush v. Gore from Its Hallof Mirrors,115 HARv. L. REv.
 170,276-87 (2001); id. at 277 n.433 (citing argument made by Professors Charles Fried and
 Einer Elhauge in Brief of the Florida Senate and House of Representatives as Amici
 Curiae in Support of Neither Party at 7, Bush v. Palm Beach County Canvassing Bd., 531
 U.S. 70 (2000) (No. 00-836)); Rachel E. Barkow, More Supreme than Court? The Fall of
 the PoliticalQuestion Doctrine and the Rise of Judicial Supremacy, 102 CoLUM. L. REv.
 237, 273-300 (2002). Whether Bush v. Gore presented a non-justiciable political question
 is beyond the scope of this Article.
     18. Only a handful of scholars have addressed the constitutionality of the Electoral
 Count Act since its initial adoption more than one hundred and twenty years ago.
 Professor Spear, writing in 1877, concluded that the Electoral Count Act of 1877 was
 unconstitutional. See Samuel T. Spear, D.D., Counting the Electoral Votes, 15 ALB. L.J.
 156, 156-61 (1877). Professor Burgess, writing in 1888, concluded that the Electoral Count
 Act of 1887 was constitutional. See John W. Burgess, The Law of the Electoral Count, 3
 POL. SC. Q. 633, 653 (1888). More recently, Professor Ross and Mr. Josephson have
 apparently concluded that the Electoral Count Act is constitutional. See Ross &
 Josephson, supra note 7, at 704-40.
          Two other scholars have obliquely addressed the constitutionality of the Electoral
 Count Act in recent years. Professor Glennon, in his primer on the Electoral College,
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 11 of 63

 2002]                    ELECTORAL COUNTACT                                          1661

     Yet there has been virtually no scrutiny of this conventional
 wisdom in the wake of Bush v. Gore. One of the most unasked
 questions regarding the presidential election of 2000 is whether the
 federal statutory scheme at issue in that case is constitutional.
      This Article argues that the Electoral Count Act, specifically 3
 U.S.C. § 15, is unconstitutional. The Electoral Count Act violates the
 text and structure of the Constitution in multiple ways. For example,
 where is the font of express or implied power to pass the Electoral
 Count Act? Where does Congress have the power to regulate the
 manner of presidential election? Where do the Electoral College
 Clauses provide for bicameralism in counting electoral votes? What
 gives the 49th Congress the authority to bind future Congresses and
 joint conventions in counting electoral votes?
      More generally: What gives the joint convention the power to
 judge the validity of electoral votes? The counting function seems to
 be arithmetic and ministerial. If the joint convention could judge
 electoral votes, it could reject enough votes to thwart the electors' will
 or trigger a contingency election for President in the House of
 Representatives and for Vice President in the Senate, thereby
 arrogating to the two Houses of Congress the power to appoint the
 Nation's two highest executive officers.'9 The tight margin of the

 somewhat casually concludes that the Electoral Count Act is constitutional. See MICHAEL
 J. GLENNON, WHEN No MAJORITY RULES: THE ELECTORAL COLLEGE AND
 PRESIDENTIAL SUCCESSION 35-43 (1992). Professor Amar, in an article on presidential
 succession, assumes that the Electoral Count Act is constitutional in the course of
 proposing an improvement to the process of presidential election. He suggests that
 "Congress should provide by statute that an electoral vote for any person who is dead at
 the time of the congressional counting is a valid vote, and will be counted, so long as the
 death occurred on or after Election Day." Amar, supranote 10, at 222.
          Most recently, after Bush v. Gore, several commentators have assessed the
 constitutionality of the Electoral Count Act, but only in passing. See, e.g., SAMUEL
 ISSACHAROFF ET AL., WHEN ELECrIONs Go BAD: THE LAW OF DEMOCRACY AND THE
 PRESIDENTIAL ELECTION OF 2000, at 98 (2001) ("Questions about the constitutionality of
 the Electoral Count Act have been raised but never fully addressed."); Dan T. Coenen &
 Edward J. Larson, CongressionalPower Over PresidentialElections: Lessons from the
 Past and Reforms for the Future, 43 WM. & MARY L. REV. 851, 860-71, 909-16 (2002)
 (concluding that the Electoral Count Act is constitutional and that congressional power to
 enact such legislation should support national-ballot and voting equipment legislation);
 Jesse H. Choper, Why the Supreme Court Should Not Have Decided the Presidential
 Election of 2000, at 15 (stating that "the Electoral Count Act is not free of certain
 ambiguities and possible constitutional problems") (unpublished manuscript, on file with
 the North Carolina Law Review), availableat http://papers.ssrn.com/abstract=281869.
     19. For an excellent articulation of this point, see 17 CONG. REC. 1059 (1886) where
 Sen. Wilson stated:
      Can we conclude that the [F]ramers of our Constitution, when they conferred on
      the respective Houses of Congress these extraordinary powers, intended to
      invest them with the still more extraordinary power of rejecting the votes of
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 12 of 63

 1662               NORTH CAROLINA LAW REVIEW                                     [Vol. 80

 presidential election of 2000-in both the popular vote and electoral
 vote-demonstrates that these possibilities are not necessarily
 remote. In a close presidential election, every electoral vote counts.
 As Chancellor Kent put the point in his treatise on the Constitution
 first published over 175 years ago, "In the case of questionable votes,
 and a closely contested election, this [counting] power may be all-
 important. ' 2° As bizarre as it may seem, the joint convention must
 count the electoral votes-including unconstitutional or faithless
 votes. As unfortunate as it may be, a solution to the problem of
 unconstitutional or faithless electoral votes requires constitutional
 amendment. The constitutional infirmities of the electoral count are
 yet additional reasons to scrap the Electoral College mode of
 presidential election altogether.
      This Article proceeds in three parts. Part I presents the history
 of the electoral count, addressing the principal congressional efforts
 to regulate presidential election and the electoral count, and the
 actual problems of the electoral counts from the Founding to today.
 Part II contains the constitutional argument against the
 constitutionality of Electoral Count Act and sets forth "interpretivist"
 arguments from constitutional text and structure.2 Part III considers


      electors appointed by the several States, and thereby creating by themselves and
      for themselves the contingency which alone gives them the right and power to
      elect a President and Vice-President?
 See also 18 CONG. REc. 74 (1886) (remarks of Rep. Baker) (similar).
         Early commentators on the Constitution, writing in the wake of the electoral crisis
 of 1800-01, were quick to point out the evils of presidential election by the House of
 Representatives. See, e.g., 1 ST. GEORGE TUCKER, BLACKSTONE'S COMMENTARIES
 WITH NOTES OF REFERENCE TO THE CONSTITUTION AND LAWS OF THE FEDERAL
 GOVERNMENT OF THE UNITED STATES AND OF THE COMMONWEALTH OF VIRGINIA,
 app. at 327 (1803) [hereinafter TUCKER'S COMMENTARIES]. St. George Tucker stated:
       Then, indeed, intrigue and cabal may have their full scope: then, may the
       existence of the union be put in extreme hazard: then might a bold and
       desperate party, having the command of an armed force, and of all the resources
       of government, attempt to establish themselves permanently in power, without
       the future aid of forms, or the control of elections.
 Id.; see WILLIAM ALEXANDER DUER, COURSE OF LECTURES ON THE CONSTITUTIONAL
 JURISPRUDENCE OF THE UNITED STATES 82 (Lenox Hill Pub. & Dist. Co. 1971) (1843)
 [hereinafter DUER'S COMMENTARIES] (noting that "on one memorable occasion...
 much riotous and violent conduct was exhibited in the House of Representatives, when,
 upon an equality of electoral votes between two of the persons voted for, the choice
 devolved upon that body"); 1 JAMES KENT, COMMENTARIES ON AMERICAN LAW *279
 [hereinafter KENT'S COMMENTARIES] ("All elections by the representative body are
 peculiarly liable to produce combinations for sinister purposes.").
     20. KENT'S COMMENTARIES, supra note 19, at *276.
     21. The methodological approach taken in this Article-one that places almost
 exclusive reliance on constitutional text and structure and one that may be described as
 "interpretivist" or "originalist"-may be criticized by some as out of touch with the
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 13 of 63

 2002]                     ELECTORAL COUNTACT                                             1663

 what should happen if the Electoral Count Act is unconstitutional,
 and electors go bananas and cast unconstitutional or faithless votes.
 This Part suggests answers to the paradigm problems of the electoral
 count and considers where we should go from here.

                 I. THE HISTORY OF THE ELECTORAL COUNT
       The history of the electoral count is woefully understudied. 22
 This is especially problematic because "[d]isputes concerning
 presidential electors and their votes are more common than one may
 think." 23 Although the electoral count's history does not directly (or
 necessarily) bear on the constitutionality of the Electoral Count Act,
 it is worth studying for at least a few reasons. First, there is much we
 can learn about our electoral past. Given the risk that history might
 repeat itself, the history of the electoral count furnishes important
 precedent for future electoral disputes, in much the same way as cases
 furnish precedent for future cases 4 Second, participants in the
 Electoral Count Act debates referred to the history of the electoral

 subject matter. The arguments run as follows: the electoral college mode of presidential
 election has worked in ways never contemplated by the Framers and Ratifiers-with the
 advent of political parties, not to mention the perfunctory role of electors themselves in
 presidential election. Indeed, one might say that the electoral college mode of presidential
 election has (ironically or not) worked in a way positively antithetical to the original
 expectations of the Framers and Ratifiers. Moreover, as we shall see, the constitutional
 lacunae seem to be especially large when it comes to the thorny issues of the electoral
 count-these issues were under-specified from the start. And so the argument concludes
 that constitutional meaning should be determined by subsequent practice-what works, or
 has been accepted as if valid-more than by constitutional text and structure.
 Nevertheless, this Article's methodological approach does yield (I submit) a definitive
 result as to the constitutionality of the Electoral Count Act. It is rather difficult to see why
 non-constitutional developments in electoral politics relating to presidential election-
 however stark when compared to the Founding-create congressional power to regulate
 the electoral count when none existed. In any case, this Article's methodological
 approach is far from useless even for those who choose to ignore its results. See Akhil
 Reed Amar, A Neo-Federalist View of Article II. Separating the Two Tiers of Federal
 Jurisdiction, 65 B.U. L. REV. 205, 207-08 n.7 (1985) (discussing the value of
 "interpretivist" methodology whether or not one subscribes to its results).
     22. The vade mecum in the study of the history of the electoral count is a House
 Special Committee report issued after the Hayes-Tilden presidential election of 1872. See
 COUNTING ELECTORAL VOTES, supra note 3; see also 3 HIND'S PRECEDENTS OF THE
 HOUSE OF REPRESENTATIVES OF THE UNITED STATES 209-67 (Alfred C. Hinds ed.,
 1907) (discussing the electoral counts of 1789 to 1905). Two scholars have also nicely
 summarized the relevant history. See generally C.C. Tansill, CongressionalControlof the
 Electoral System, 34 YALE L.J. 511 (1924-25); L. Kinvin Wroth, Election Contests and the
 Electoral Vote, 65 DICK. L. REV. 321 (1961).
     23. John Harrison, Nobody for President,16 J.L. & POL. 699,699 (2000).
     24. Indeed, Bush v. Gore provides two excellent examples. For references to the
 Hayes-Tilden Incident of 1877, see infra notes 157-64 and accompanying text. For
 references to the Hawaii Incident of 1961, see infra notes 165-75 and accompanying text.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 14 of 63

 1664                NORTH CAROLINA LAW REVIEW                                      [Vol. 80

 count in debating the constitutionality of the Electoral Count Act. A
 familiarity with the history of the electoral count better informs these
 legislative debates. Third, participants in the Electoral Count Act
 debates referred to the history of the electoral count-and specifically
 the actual problems of the electoral count-in debating the necessity
 and expediency of the Electoral Count Act. A critical examination of
 this history better affords a basis to assess whether the Electoral
 Count Act is necessary and expedient to address these historical
 problems and whether there may be other non-statutory solutions.
      This Part seeks to fill this void in scholarship and proceeds in two
 sections. The first section summarizes four principal congressional
 efforts-three successful, one not-to regulate presidential election
 and the electoral count, including the Act of 1792, the Grand
 Committee Bill, the Twenty-second Joint Rule, and finally the
 Electoral Count Act. The second section summarizes the actual
 problems of the electoral count. In the course of fifty-four electoral
 counts in the history of the Republic, there have been only a dozen or
 so problems of the electoral count, most of which occurred in the
 nineteenth-century.2

 A.    CongressionalEfforts to Regulate PresidentialElection and the
       ElectoralCount

                               1. Act of March 1, 1792
      On March 1, 1792, the Second Congress passed "An Act relative
 to the election of a President and Vice-President of the United States
 and declaring the officer who shall act as President in case of
 vacancies in the offices both of President and Vice-President. '26 The
 Act thus regulated presidential election and presidential succession,
 the latter pursuant to Article II, Section 1, Clause 6.27

    25. As of 1886, Senator Sherman observed that "[s]ince [the Founding] there have
 been eleven cases of disputes as to electoral votes, and twenty-one objections have been
 made to the electoral votes of different States, presenting a great variety of questions,"
 though he did not elaborate. 17 CONG. REc. 815 (1886).
    26. Act of Mar. 1, 1792, ch. 8, 1 Stat. 239. For the relevant part of the act relating to
 presidential election, see COUNTING ELECTORAL VOTES, supra note 3, at 9.
    27. U.S. CONST. art. II, § 1, cl. 6 provides:
      In Case of the Removal of the President from Office, or of his Death,
      Resignation, or Inability to discharge the Powers and Duties of the said Office,
      the Same shall devolve on the Vice President, and the Congress may by Law
      provide for the Case of Removal, Death, Resignation or Inability, both of the
      President and Vice President, declaring what Officer shall then act as President,
      and such Officer shall act accordingly, until the Disability be removed, or a
      President shall be elected.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 15 of 63

 2002]                     ELECTORAL COUNTACT                                           1665

      The Act did a number of things with respect to presidential
 election. Sections 1 and 2 of the Act, pursuant to Article II, Section 1,
 Clause 4, established the time of choosing the electors by the States
 as thirty-four days before their meeting, and the day on which the
 electors were to give their votes as the first Wednesday in December
 of each presidential election year. 29 Section 1 also clarified Article II,
 Section 1, Clause 210 by providing that each state shall appoint a
 number of electors equal to the number of Senators and
 Representatives to which the state is entitled at the time when the
                                                                 31
 President and Vice President to be chosen would come into office.
      Section 2 also clarified Article II, Section 2, Clause 332 by
 specifying the manner of certifying and transmitting the electoral
 certificates to the President of the Senate. It provided that the
 electors in each state shall make and sign three electoral certificates-
 one to be sent by messenger appointed by a majority of the electors, a
 second by post to the President of the Senate, and the third to be
 delivered to the judge of the district in which the electors in each state


 With respect to presidential succession, the Act provided that, after the Vice President,
 the President pro tempore and the Speaker of the House of Representatives would next be
 in line to act as President. For a strong and persuasive claim that this mode of presidential
 succession is unconstitutional because Members of Congress are not "Officer[s]" within
 the meaning of the Presidential Succession Clause, see Akhil Reed Amar & Vikram David
 Amar, Is the PresidentialSuccession Law Constitutional?,48 STAN. L. REV. 113 (1995).
      28. See U.S. CONST. art. II, § 1, cl. 4 ("The Congress may determine the Time of
 chusing the Electors, and the Day on which they shall give their Votes; which Day shall be
 the same throughout the United States.").
      29. For the modem codification, see 3 U.S.C. § 1 (2000) ("The electors of President
 and Vice President shall be appointed, in each State, on the Tuesday next after the first
 Monday in November, in every fourth year succeeding every election of a President and
 Vice President."); id. § 7 ("The electors of President and Vice President of each State shall
 meet and give their votes on the first Monday after the second Wednesday in December
 next following their appointment at such place in each State as the legislature of such State
 shall direct.").
      30. U.S. CONST. art. II, § 1, cl. 2 provides:
       Each State shall appoint, in such Manner as the Legislature thereof may direct, a
       Number of Electors, equal to the whole Number of Senators and
       Representatives to which the State may be entitled in the Congress: but no
       Senator or Representative, or Person holding an Office of Trust or Profit under
       the United States, shall be appointed an Elector.
     31. A proviso to section 1 provided: "That where no apportionment of
 Representatives shall have been made after any enumeration, at the time of choosing
 electors, then the number of electors shall be according to the existing apportionment of
 Senators and Representatives." For the modem codification, see 3 U.S.C. § 3.
     32. See U.S. CONST. art. II, § 2, cl. 3 ("And they shall make a List of all the Persons
 voted for, and of the Number of Votes for each; which List they shall sign and certify, and
 transmit sealed to the Seat of the Government of the United States, directed to the
 President of the Senate.").
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 16 of 63

 1666               NORTH CAROLINA LAW REVIEW                                    [Vol. 80

 shall assemble.3 3 Section 3 further specified the manner of certifying
 and transmitting the electoral certificates, but well beyond the text of
 Article II, Section 2, Clause 3. It provided that
      the executive authority of each State shall cause three lists of
      the names of the electors of such State to be made and
      certified and to be delivered to the electors on or before the
      said first Wednesday in December; and the said electors
      shall annex
             34
                   one of the said lists to each of the lists of their
        votes.
      These provisions of sections 2 and 3 are noteworthy because the
 Electoral College Clauses do not expressly grant Congress the power
 to specify the manner of certifying or transmitting the electoral
 certificates. Interestingly, a draft of Article II, Section 1, Clause 4 at
 the Philadelphia Convention of 1787 provided that "[t]he Legislature
 may determine the time of choosing the Electors, and of their giving
 their votes; and the manner of certifying and transmittingtheir votes-
 But the election shall be on the same day throughout the
 U-States."35 The italicized language was inexplicably dropped by
 the time the Framers referred the draft Constitution to the
 Committee of Style and Arrangement. 6 It is a slippery exercise to
 infer the meaning of this clause from language rejected in predecessor
 drafts. Perhaps the Framers intended to deny Congress the power to
 legislate on the manner of certification and transmission of electoral
 votes. Or perhaps the Framers intended that Congress could enact


     33. For the modern codification, see 3 U.S.C. § 11 and 3 U.S.C. § 9, which provides:
      The electors shall make and sign six certificates of all the votes given by them,
      each of which certificates shall contain two distinct lists, one of the votes for
      President and the other of the votes for Vice President, and shall annex to each
      of the certificates one of the lists of the electors which shall have been furnished
      to them by direction of the executive of the State.
     34. For the modem codification, see 3 U.S.C. § 6.
     35. See 2 THE RECORDS OF THE FEDERAL CONVENTION OF 1787, at 529 (Max
 Farrand ed., 1911) [hereinafter FARRAND] (emphasis added); see also David P. Currie,
 The Constitution in Congress: The Second Congress,1791-1793, 90 Nw. U. L. REV. 606,
 617-18 (1996) (noting this point). Alexander Hamilton's draft of the Constitution
 contained a broader grant of law-making power. See 3 FARRAND, supra, at 624 ("The
 Legislature shall by permanent laws provide such further regulations as may be necessary
 for the more orderly election of the President, not contravening the provisions herein
 contained.").
     36. Contrary to Professor Currie's view, see Currie, supra note 35, at 617-18, this
 language was not dropped by the Committee of Style, but was dropped by the Framers
 themselves. See 2 FARRAND, supra note 35, at 573 (draft Constitution referred to
 Committee of Style and Arrangement) ("The Legislature may determine the time of
 chusing the Electors and of their giving their votes-But the election shall be on the same
 day throughout the United States.").
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 17 of 63

 2002]                     ELECTORAL COUNTACT                                            1667

 these sections either pursuant to Article II, Section 1, Clause 4 itself
 or pursuant to the Necessary and Proper Clause. 37
      In any case, it is difficult to see how section 3 and its modern
 codification at 3 U.S.C. § 6 are constitutional, strictly speaking. When
 section 3 of the Act of 1792 was read in the House of Representatives,
 Representative Niles, joined by Representative Hillhouse, objected to
 it on constitutional grounds, questioning Congress's ability to impose
 duties on the executive authority of each state and calling the section
 "degrading to the Executives of the several States. ' 38 Speaker
 Sedgwick responded that "if Congress were not authorized to call on
 the Executives of the several States, he could not conceive what
 description of persons they were empowered to call upon,' 39 and
 Representative Niles's motion to strike the clause was negatived.
      Democrat-Republican Senator Charles Pinckney, a Framer and
 leading delegate to the South Carolina ratifying convention, probably
 would have agreed with Representative Niles's constitutional
 objection. In a speech before the Senate in March of 1800, Senator
 Pinckney observed that the Act of 1792 may "in one or two
 particulars of no importance" go "farther than the Constitution
 warrants," though he did not identify any particular sections. 0 In
 modern constitutional parlance, the duties imposed on State
 Executives by section 3 of the Act of 1792 and 3 U.S.C. § 6, do not
 seem quite like "purely ministerial reporting requirements,"'" but
 those who have a broader view of "executive commandeering" are
 unlikely to question seriously the constitutionality of section 3 of the
 Act of 1792 and 3 U.S.C. § 6.42
      Other provisions of the Act of 1792 are much less questionable.
 Section 4 provided that if the electoral certificate of a state shall not
 have been received at the Seat of Government by the first Wednesday
 in January, then the Secretary of State shall send a special messenger
 to the district judge of the State who held one of the three electoral


     37. These two possible fonts of power for the Electoral Count Act are discussed in
 Part II.A.2 infra.
     38. 3 ANNALS OF CONG. 279 (1791).
     39. Id.at 279.
     40. 10 ANNALS OF CONG. 134 (1800).
     41. See Printz v. United States, 521 U.S. 898, 936 (1997) (O'Connor, J., concurring)
 (suggesting that "purely ministerial reporting requirements imposed by Congress on state
 and local authorities" may be constitutionally valid).
     42. See, e.g., id.
                      at 939 (Stevens, J., dissenting); id.
                                                          at 970-71 (Souter, J., dissenting); id.
 at 976-77 (Breyer, J., dissenting); Saikrishna Bangalore Prakash, Field Office Federalism,
 79 VA. L. REv. 1957, 1990-2007 (1993) (presenting extensive early historical evidence of
 "executive commandeering").
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 18 of 63

  1668               NORTH CAROLINA LAW REVIEW                                      [Vol. 80

 certificates.43 Section 5 provided that Congress shall be in session on
 the second Wednesday in February for the purpose of opening the
 electoral certificates and counting the electoral votes. 44 Section 6
 provided that if the President of the Senate were absent when the
 electoral certificates arrived, they would be given to the Secretary of
 State for safekeeping, to be delivered as soon as practicable to the
 President of the Senate. Section 7 provided for the compensation of
 messengers who would carry one of the three electoral certificates
 from each of the states to the Seat of Government at the rate of
 twenty-five cents a mile. Section 8 prescribed a $1,000 penalty (no
 small sum in those days) for messengers who failed to perform the
 service.45
     Whatever we think about the constitutionality of section 3 of the
 Act of 1792, the Act did not in any way assert any congressional
 control over the electoral count itself. As one early scholar of the
 Electoral Count Act noted, "There is no attempt here, legislatively, to
 interpret the Constitution, or devise any counting machinery other
 than that which appears on its face, or establish any rule for its action.



     43. The modem codification provides:
      When no certificate of vote and list mentioned in sections 9 and 11 of this title
      from any State shall have been received by the President of the Senate or by the
      Archivist of the United States by the fourth Wednesday in December, after the
      meeting of the electors shall have been held, the President of the Senate or, if he
      be absent from the seat of government, the Archivist of the United States shall
      request, by the most expeditious method available, the secretary of state of the
      State to send up the certificate and list lodged with him by the electors of such
      State; and it shall be his duty upon receipt of such request immediately to
      transmit same by registered mail to the President of the Senate at the seat of
      government.
 3 U.S.C. § 12 (2000). Additionally:
      When no certificates of votes from any State shall have been received at the seat
      of government on the fourth Wednesday in December, after the meeting of the
      electors shall have been held, the President of the Senate or, if he be absent from
      the seat of government, the Archivist of the United States shall send a special
      messenger to the district judge in whose custody one certificate of votes from
      that State has been lodged, and such judge shall forthwith transmit that list by
      the hand of such messenger to the seat of government.
 Id. § 13.
     44. For the modem codification, see 3 U.S.C. § 15 ("Congress shall be in session on
 the sixth day of January succeeding every meeting of the electors.").
     45. For the modem codification (with the same $1,000 penalty), see 3 U.S.C. § 14
 ("Every person who, having been appointed, pursuant to section 13 of this title, to deliver
 the certificates of the votes of the electors to the President of the Senate, and having
 accepted such appointment, shall neglect to perform the services required from him, shall
 forfeit the sum of $1,000.").
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 19 of 63

 2002]                    ELECTORAL COUNTACT                                           1669

 It was assumed that the Constitution
                               'n6
                                      interprets itself, and executes
 itself by its own provisions.
                   2. The Grand Committee Bill of 1800
      In early 1800, the Federalist-controlled Sixth Congress attempted
 to regulate the electoral count.4 7 The impetus for the regulation was
 plainly corrupt:      The upcoming presidential election between
 President and Federalist John Adams and Vice President and
 Democrat-Republican Thomas Jefferson commanded the nation's
 attention, and the Federalist-controlled Congress desired to deal Vice
 President Jefferson's electoral chances a "crippling blow." 48 Historian
 John Bach McMaster explained that
      [t]he leaders of the [Federalist] party were determined that,
      if the presidential election could not be carried by fair
      means, it should by foul. Adams's electors might be
      defeated in the Legislatures and at the poles [sic], but the
      votes of the Jefferson electors should, if possible, be thrown
      out by Congress. With this for its purpose, an electoral-
      count bill appeared in the Senate. 49
      On January 23, 1800, Federalist Senator James Ross moved
 "[tihat a committee be appointed to consider whether any, and what,
 provisions ought to be made by law for deciding disputed elections of
 President and Vice President of the United States, and for
 determining the legality or illegality of the votes given for those
 officers in the different States" and that the committee be authorized
 to report a bill.50 This motion was the subject of significant debate,
 much of which we shall uncover in Part II. On February 14, 1800,
 Senator Ross reported "A bill prescribing the mode of deciding
 disputed elections of President and Vice-President of the United



   46. Spear, supra note 18, at 158.
   47. For an easily accessible account of this history, see DAVID P. CURRIE, THE
 CONSTITUTION IN CONGRESS: THE FEDERALIST PERIOD, 1789-1801, at 288-291 (1997).
    48. JEAN EDWARD SMITH, JOHN MARSHALL: DEFINER OF A NATION 263 (1996).
    49. 2 JOHN BACH MCMASTER, A HISTORY OF THE PEOPLE OF THE UNITED STATES:
 FROM THE REVOLUTION TO THE CIVIL WAR 462 (1928); see id. at 463 ("The purpose of
 this shameful bill was plain to all."); see also 2 ALBERT J. BEVERIDGE, THE LIFE OF JOHN
 MARSHALL 452-53 (1916) (describing Federalist effort to regulate electoral count as "in
 reality a high-handed attempt to control the [coming] presidential election, regardless of
 the votes of the people"); Wroth, supra note 22, at 326 & n.24 (describing Federalist effort
 to regulate electoral count as "a last ditch effort to stem the tide of Jeffersonian
 Republicanism").
     50. 6 ANNALS OF CONG. 29 (1800).
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 20 of 63

  1670              NORTH CAROLINA LAW REVIEW                                    [Vol. 80
  States. '51 This bill is commonly known as the "Grand Committee"
  Bill. 52
         As its shorthand name suggests, this bill featured the
  appointment of a "Grand Committee" on the day before the second
  Wednesday in February. This Committee would have thirteen
  members: six Representatives chosen by ballot in the House, six
  Senators chosen by ballot in the Senate, and the Chief Justice of the
  United States who was to act as chairman (if the Chief Justice were
  absent then the next most senior Justice would attend).5 3 This
  committee was to have power to examine, and finally to decide, all
  disputes relating to the election of President and Vice President
  including the:
        power to inquire, examine, decide, and report upon the
        constitutional qualifications of the persons voted for as
        President and Vice-President of the United States; upon the
        constitutional qualifications of the electors appointed by the
        different States, and whether their appointment was
        authorized by the State Legislature or not; upon all petitions
        and exceptions against corrupt, illegal conduct of the
        electors, or force, menaces, or improper means used to
        influence their votes; or against the truth of their returns, or
        the time, place or manner of giving their votes. 4

     51. COUNTING ELECrORAL VOTES, supra note 3, at 16.
     52. Historian Albert Beveridge writes that the bill was "aimed particularly at the
 anticipated Republican presidential majority in Pennsylvania which had just elected a
 Republican Governor over the Federalist candidate." 2 BEVERIDGE, supra note 49, at
 463. It should come as no surprise that the losing Federalist candidate was Senator Ross
 of Pennsylvania, the principal proponent of the Grand Committee Bill.
     53. The idea for a committee of thirteen may have its roots in a proposal by Elbridge
 Gerry at the Philadelphia Convention of 1787 who proposed that, in case of electoral
 deadlock, "the eventual election should be made by six Senators and seven
 Representatives chosen by joint ballot of both Houses." 2 FARRAND, supra note 35, at
 514. This proposal failed by a vote of two to eight. Id. Note that Gerry's proposal
 decidedly favors the House of Representatives-the People's branch of the national
 legislature-both in committee representation and committee election given the joint
 ballot procedure. Under a joint ballot, the Members of the House of Representatives, at
 the founding, would be entitled to sixty-five of ninety-one votes. For a mathematical
 depiction of Gerry's thinking, see id. at 99 (proposing the selection of President by a
 randomly chosen subset of members of Congress taken together).
     54. COUNTING ELECTORAL VOTES, supra note 3, at 18. The one exception to this
 grant of power was that
      no petition, or exception, shall be granted, allowed, or considered by the sitting
      grand committee which has for its object to dispute, draw into question the
      number of votes given for an elector in any of the States, or the fact whether an
      elector was chosen by a majority of votes in his State or district."
 Id.In other words, the Grand Committee was not to judge the elections or returns of the
 electors.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 21 of 63

2002]                   ELECTORAL COUNTACT                                       1671

     The committee was "to sit with closed doors." It was to have the
"power to send for persons, papers, and records to compel the
attendance of witnesses," 55 and its report was to be made "on the first
day of March next after their appointment." This report was to be "a
final and conclusive determination of the admissibility or
inadmissibility of the votes given by'56 the electors for President and
Vice-President of the United States.
     Republican Senator Charles Pinckney delivered a "closely
reasoned attack 5 7 on the Grand Committee Bill, which occupies
some twenty-one pages in the Annals of Congress." It is not
surprising that Senator Pinckney led the effort in the Senate against
the Grand Committee Bill. Some historians place him as the
campaign manager in South Carolina for Democrat-Republican and
Vice President Thomas Jefferson, who had everything to lose with the
passage of the Grand Committee Bill.
     In his introductory remarks, Senator Pinckney described the
Grand Committee Bill as more dangerous than the Alien and
Sedition Acts of 1798 because, unlike the latter, the former was
perpetual.5 9 Relying on his experience as a Framer and a leading
delegate at the South Carolina ratifying convention, Senator Pinckney
forcefully articulated his principal objection to the bill:
     Knowing that it was the intention of the Constitution to
     make the President completely independent of the Federal

    55. Id.at 17.
    56. Id.at 18.
    57. Tansill, supranote 22, at 517.
    58. See 10 ANNALS OF CONG. 126-46 (1800). In his remarks opposing the Grand
Committee Bill, Senator Pinckney described it thus:
      [W]hat is the mode [of electing President] proposed by this bill? That the Senate
     and House of Representatives of the United States shall each of them elect six
     members, who with a chairman, to be appointed by the latter from a nomination
     of the former, would form a grand committee who should, sitting with closed
     doors, have a right to examine all the votes given by the Electors in the several
     States for President and Vice President, and all the memorials and petitions
     respecting them; and have power finally to decide respecting them, and to
     declare what votes of different States shall be rejected, and what admitted; and,
     in short, that this committee, thus chosen, and sitting with closed doors, shall
     possess complete, uncontrollable, and irrevocable power to decree, without
     appeal from their decision, who has been returned, and who shall be proclaimed
     President of the United States.
Id. at 129. Professor Ross and Mr. Josephson suggest that, given the length of Senator
Pinckney's speech, it was not extemporaneous. See Ross & Josephson, supra note 7, at
711 n.252.
    59. 10 ANNALS OF CONG. 126. Recall that the Alien and Sedition Acts were set to
expire on June 25, 1800 and March 3, 1801 respectively. See Alien Act of June 25, 1798
§ 6, 1 Stat. 570, 572; Sedition Act of July 14,1798 § 4,1 Stat. 596, 597.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 22 of 63

  1672               NORTH CAROLINA LAW REVIEW                                      [Vol. 80

       Legislatures, I well remember it was the object, as it is at
       present not only the spirit but the letter of that instrument,
       to give to Congress no interference in, or control over the
       election of a President. It is made their duty to count over
       the votes in a convention of both Houses, and for the
       President of the Senate to declare who has the majority of
       the votes of the Electors so transmitted. It never was
       intended, nor could it have been safe, in the Constitution, to
       have given to Congress thus assembled in convention, the
       right to object to any vote, or even to question whether they
       were constitutionally or properly given.... To give to
       Congress, even when assembled in convention, a right to
       reject or admit the votes of States, would have been so gross
       and dangerous an absurdity, as the [F]ramers of the
       Constitution never could have been guilty of. How could
       they expect, that in deciding on the election of a President,
       particularly where such election was strongly contested, that
                                                                  6
       party spirit would not prevail, and govern every decision? 0
       According to Senator Pinckney, the animating principle of the
  Electoral College Clauses was to remove Congress from the business
  of electing the President as much as possible. Despite Senator
  Pinckney's strong and well reasoned objections, many of which we
  shall uncover in Part II, in the course of the argument against the
  constitutionality of the Electoral Count Act, the Senate passed the
  Grand Committee Bill by a "strict party vote ' 61 of sixteen to twelve
  on March 28, 1800.62
       Three days later the bill reached the House. In the House,
  Federalist Representative John Marshall-soon to be Chief Justice
  Marshall-broke with his party, and much to the Federalists' dismay,
  lobbied very hard against the Grand Committee Bill. 63 He was

      60. 10 ANNALS OF CONG. 130. Senator Pinckney also observed that the Framers
  "well knew, that to give to the members of Congress a right to give votes in this election,
  or to decide upon them when given, was to destroy the independence of the Executive and
  make him the creature of the Legislature." Id. at 131. The potential for party spirit in
  Congress to dominate the choice of President was well recognized. In the Second
  Congress, Speaker of the House Sedgwick "descanted on the pernicious consequences
  which might result from the collision of parties, and the working of passions in the breasts
  of men whose ardor would probably be excited to the greatest degree" if the House of
  Representatives were to choose the President. 3 ANNALS OF CONG. 278 (1791). During
  the Wisconsin Incident of 1857, Senator Collamer made similar remarks. See COUNTING
  ELECTORAL VOTES, supra note 3, at 132-33 (remarks of Sen. Collamer).
      61. 2 BEVERIDGE, supranote 49, at 454.
      62. 10 ANNALS OF CONG. 146.
      63. See 2 BEVERIDGE, supra note 49, at 455. ("In these cloak-room talks, Marshall, to
  the intense disgust and anger of the Federalist leaders, was outspoken against this attempt
  to seize the Presidency under the forms of a National law."); SMITH, supra note 48, at 264
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 23 of 63

2002]                   ELECTORAL COUNTACT                                          1673

appointed chairman of a select committee to redraft the bill.
Marshall reported the Senate bill in the House of Representatives on
April 25, 1800 with significant amendments. 64 Under the amended
bill, the committee's report was not to be the final and conclusive
determination on the electoral votes. Instead, this determination
would devolve upon the two Houses after receiving the committee's
report. The House bill provided that, upon objection to any elector's
vote in a joint meeting of the two Houses, the vote was to be counted
unless the two Houses, meeting separately, concurred in rejecting it.
Indeed, as we shall see, the Electoral Count Act bears significant
resemblance to this amended bill.65
    These amendments "gutted" the Grand Committee Bill.66 The
Senate considered this amended bill on May 8, 1800, and rejected the
House amendments by a "strict party vote."'67 The Senate then passed
an amendment striking out the word "rejecting" and inserting the
word "admitting." The effect of this change was to create a "one-
House veto" over electoral votes. When the two Houses could not
agree on the amended bills, the bill died.'  According to John
Marshall scholar Albert J. Beveridge, if Marshall had not waged his
campaign against the Grand Committee Bill, the election of Thomas
Jefferson would have been impossible. 69
     It is extremely difficult to see how the original Grand Committee
Bill was constitutional70 In addition to the constitutional argument
that will be explored in detail in Part II, there are at least four
additional attacks on this bill. First, what gives Congress the


("Marshall worked the cloakrooms and corridors assiduously, voicing his objections and
lining up the opposition vote.").
    64. See COUNTING ELECrORAL VOTES, supra note 3, at 23-26.
    65. See Part I.A.4 infra.
    66. SNriTH, supra note 48, at 264.
    67. 2 BEVERIDGE, supra note 49, at 456.
    68. See Wroth, supra note 22, at 327 ("The House, less aggressively partisan than the
Senate, refused to accept a measure which would permit rejection by vote of the Senate
alone.").
    69. 2 BEVERIDGE, supra note 49, at 456. Thomas Jefferson, for his part, was less than
fully appreciative of John Marshall's efforts, suggesting that the Marshall amendments did
not make the Grand Committee Bill constitutional. In a private letter, he wrote:
      Marshall made a dexterous manoeuver; he declares against the constitutionality
      of the Senate's bill, and proposes that the right of decision of their grand
      committee should be controllable by the concurrent vote of the two [Houses of
      [C]ongress; but to stand good if not rejected by a concurrent vote. You will
      readily estimate the amount of this sort of controul.
Id.(quoting Letter from Thomas Jefferson, to Robert Livingston (Apr. 30,1800)).
    70. The amended Grand Committee Bill largely parallels the Electoral Count Act.
See Part I.A.4 infra.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 24 of 63

  1674               NORTH CAROLINA LAW REVIEW                                     [Vol. 80

  authority to delegate the counting function to a committee, if
  Congress has counting authority at a? 71 Second, what gives
  Congress the authority to take the Chief Justice (or other Justices)
  away from her judicial duties?72 Third, what gives Congress the
  authority to delay the counting of the electoral votes in violation of
  the immediacy principle of the Electoral College Clauses?73 Fourth,
  what gives Congress the authority to secretly count electoral votes in
  violation of the publicity principle of the Electoral College Clauses?74
       In sum, one should seriously doubt the constitutionality of the
  Grand Committee Bill. It is far from clear that Representative John
  Marshall's amendments removed the multiple constitutional
  infirmities. Arguably, the failure of the Second Congress to address
  congressional regulation of the electoral count after significant
  constitutional debate suggests the unconstitutionality of the Grand
  Committee Bill; Senator Pinckney certainly thought soy5




     71. Apparently, John Marshall also questioned Congress's ability to delegate
 authority to the Grand Committee. 2 BEVERIDGE, supra note 49, at 457 (citing Letter
 from Speaker Sedgwick, to Sen. Rufus King (May 11, 1800)).
     72. The Constitution carefully circumscribes the Chief Justice's judicial duties under
 Article III, with one exception. See U.S. CoNsT. art. I, § 3, cl. 6 ("The Senate shall have
 the sole Power to try all Impeachments. When sitting for that Purpose, they shall be on
 Oath or Affirmation. When the President of the United States is tried, the Chief Justice
 shall preside .... ).
          It might be argued that the Chief Justice's role in the Grand Committee is quasi-
 judicial and that the foregoing clause invites the Chief Justice to play a special role with
 respect to the Presidency. For an expression of this claim, see Amar, supra note 10, at 223
 n.16. Notably, however, the Framers rejected other non-judicial roles for the Chief Justice
 and other Justices of the Supreme Court. See, e.g., 2 FARRAND, supra note 35, at 75, 298
 (rejecting participation in "[r]evisionary power" or veto power); id. at 342 (rejecting
 participation in "Council of State" or Privy Council).
     73. See text accompanying infra notes 267-74.
     74. See text accompanying infra notes 276-86.
     75. Senator Pinckney remarked:
      Were not the then Executive, and a number of the members of both Houses,
      members of the Convention which framed the Constitution; and if it intended to
      give to Congress, or to authorize them to delegate to a committee of their body,
      powers contemplated by this bill, could the Congress or the President of 1792,
      have been so extremely uninformed, and indeed ignorant of its meaning and of
      their duty, as not to have known it?
 10 ANNALS OF CONG. 136 (1800). However, it must be noted that, during the debate over
 the Act of 1792, Speaker of the House Sedgwick did mention the possibility of a
 "contested election" and "left it to the consideration of the Committee" to address the
 solution. See 3 ANNALS OF CONG. 279 (1791).
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 25 of 63
 2002]                   ELECTORAL COUNTACT                                          1675

                  3. The Twenty-second Joint Rule of 1865
     The third principal congressional effort to regulate the electoral
 count came sixty-five years later in 1865.76 On January 30, 1865, the
 House of Representatives passed a resolution now commonly
referred to as the "Twenty-second Joint Rule." A few days later, on
February 6, 1865, after minor amendment, the Senate passed the
House resolution. Sparsely attended Houses of Congress passed the
Twenty-Second Joint Rule with no debate7       As Dean Wroth has
 observed, it was "a political measure, passed and used by Republican
 majorities of both Houses to assure control over the votes of the
 recently rebellious southern states. 78 The purpose of the Twenty-
 Second Joint Rule was thus to exclude the electoral votes of putative
 states as needed, not to exclude the electoral votes of electors. It
 provided in relevant part:
      If, upon the reading of any such certificate by the tellers, any
      question shall arise in regard to counting the votes therein
      certified, the same, having been stated by the Presiding
      Officer, shall be submitted, first by the President of the
      Senate to that body, and then by the Speaker to the House
      of Representatives, and no question shall be decided
      affirmatively, and no vote objected to shall be counted,
      except by the concurrent votes of the two houses, said votes
      of the two houses to be reported to and declared by the
     Presiding Officer, and upon any such question there shall be
     no debate; and any other question pertinent to the object for
     which the two houses are 7assembled
                                9
                                          may be submitted and
      determined in like manner.

   76. Three other interim and unsuccessful congressional efforts to regulate the
electoral count deserve brief mention. First, on December 12, 1820, Senator Wilson
submitted a resolution entitled Attempt to Remedy the Uncertainty as to Counting the
Electoral Vote by Legislation. See COUNTING ELECTORAL VOTES, supra note 3, at 48.
Second, on March 4, 1824, Senator Van Buren--soon to be President Van Buren in
1837-reported a bill similar to Representative John Marshall's Grand Committee Bill.
This bill passed the Senate on April 19, 1824, but died without having been considered by
the House of Representatives. See id.at 57-60; see also Spear, supra note 18, at 158
(describing the historical background); Wroth, supra note 22, at 327 (same). Third, on
May 10, 1828, Representative Wilde moved a resolution entitled "A Propositionto Inquire
into the Legality of the Certificates of the Votes of the Previous PresidentialElection."
COUNTING ELECrORAL VOTES, supra note 3, at 63-65.
    77. See Spear, supra note 18, at 158; Wroth, supranote 22, at 328 n.33.
   78. Wroth, supra note 22, at 328; see also Tansill, supra note 22, at 522 ("[T]he
occasion for this assertion of jurisdiction was the breach between the Executive and
Congress relative to the reconstruction of the southern states.").
   79. COUNTING ELECTORAL VOTES, supra note 3, at 148 (House version); see also
Tansill, supranote 22, at 523 (describing the surrounding history); Wroth, supra note 22, at
328 (citing same passage).
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 26 of 63
  1676                NORTH CAROLINA LAW REVIEW                                      [Vol. 80

         As the text of the Joint Rule indicates, "no vote objected to shall
  be counted, except by the concurrent votes of the two houses." Any
  Member of Congress could object to an electoral vote for any reason,
  and each House was to have a "one-House veto" as to which votes
  were to be counted. 0 Thus, each House could, by rejecting enough
  votes, trigger a contingency election in the House of Representatives
  for the President and in the Senate for the Vice-President.81 As we
  shall see shortly, even the Electoral Count Act does not go this far.
       A report by the House Committee on Privileges and Elections in
  1874 called the Twenty-Second Joint Rule "the most dangerous
  contrivance to the peace of the nation that has ever been invented by
  Congress."' Indeed, the consensus view during the Electoral Count
  Act     debates      was     that     the    Twenty-Second           Joint     Rule     was
  unconstitutional.'         Unsurprisingly, scholars who have studied the

      80. Sen. Morton offered an analysis:
        Under the rule as it now exists, when the votes for President and Vice-President
        are counted, any formal objection, no matter how trifling or insufficient or even
        contemptible in its character, has the effect to separate the two houses, and they
        are to vote upon this objection, and unless both houses concur in voting it down
        the electoral vote of that State is lost. In that way, by the dissent of either house,
        any State may be disfranchised; the vote of the State of New York or of Indiana
        may be rejected by the most foolish and trivial objection unless both houses shall
        concur in voting down that objection. The vote of every State may be rejected in
        this way.
  COUNTING ELECTORAL VOTES, supranote 3, at 444.
      81, A report by the Committee on Privileges and Elections in 1874 stated: "Here is a
  powerful temptation to the House of Representatives by non-concurrence to throw the
  election into its own body, and thus, perhaps, secure the election of a candidate who may
  have been overwhelmingly beaten at the polls." COUNTING ELECTORAL VOTES, supra
  note 3, at 417.
      82. Id.
      83. See, e.g., id.at 444 (remarks of Sen. Morton) ("[T]he existence of this rule imperils
  the peace of the nation and subjects the Government to great danger.... It requires no
  argument, therefore, to prove the absurdity, the unconstitutionality, and the danger of this
  rule."); id. (remarks of Sen. Bayard) ("I have for a long time been of opinion that the
  constitutionality of this rule altogether may well be doubted."); id at 472 (remarks of Sen.
  Bayard) ("That such a rule was without constitutional warrant, I cannot doubt; and I do
  not think I am going too far when I say that the unconstitutionality of that rule is generally
  admitted."); id at 526 (remarks of Sen. Morton) ("It was absurd, wickedly and
  dangerously unconstitutional."); id at 540 (remarks of Sen. Maxey) ("It is a blot upon the
  mode and manner of counting the votes of the electoral college. It gives to either [H]ouse
  of Congress the right to stab to the death a sovereign State of this Union."). Sen. Bayard
  remarked:
       Then, under the maleficent working of a rule adopted without regard to the
        Constitution, under the assumption of powers utterly unwarranted by the two
        [HIouses of Congress, there came the assumption of a veto power by either
       branch of Congress, in silence, without debate, without reason, to throw out the
       electoral vote and disfranchise one or more communities at will.
  Id. at 665.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 27 of 63

 2002]                    ELECTORAL COUNTACT                                         1677

 Rule have identified it as the apex of congressional control over the
 electoral count.'  Simply put, the Twenty-second Joint Rule was
 unconstitutional.'
                       4. The Electoral Count Act of 1887
      The legislative history of the Electoral Count Act of 1887 is
 complex, and much of this history has been well catalogued
 elsewhere.8 6 The heart of the Electoral Count Act is currently
 codified at 3 U.S.C. § 15, titled "Counting electoral votes in
 Congress."' This section sets forth a complicated set of provisions
 for counting electoral votes.
      Two noticeable differences exist between the Electoral Count
 Act and the Twenty-second Joint Rule. First, the Electoral Count
 Act is a law and not a joint rule. Second, the Electoral Count Act
 does not have the "one-House veto" provision of the Twenty-second
 Joint Rule. It is not clear that these two significant changes cure the
 constitutional infirmities of the Twenty-second Joint Rule.
      Charting the basic workings of the Electoral Count Act is a good
 place to begin. The Act provides for the reading of the electoral
 votes by state and the objection to an electoral vote. Unlike its
 predecessors, the Electoral Count Act requires an objection to an
 electoral vote to have the signature of at least one Senator and at
 least one Representative.'           After all the objections to the electoral
 votes from a state have been received and read, the Senate and the
 House of Representatives withdraw for separate deliberations.

     84. See Tansill, supra note 22, at 522 ("In 1865, the climax of congressional control
 [over the electoral vote] was reached ..... "); Wroth, supra note 22, at 328 ("Congress
 asserted total power over the electoral vote with the adoption of the Twenty-second Joint
 Rule in 1865.").
     85. The "one-House veto" of the Twenty-second Joint Rule bears a remarkable
 resemblance to the scheme held unconstitutional in INS v. Chadha, 462 U.S. 919, 959
 (1983) (holding a "one-House veto" provision unconstitutional).
     86. In a nutshell, the precursor bill to the Electoral Count Act was introduced in the
 Republican Senate in May 1878. "Spurred by two close presidential elections, the Senate
 repassed the bill three times in the next decade, but each time could not win the
 agreement of the House." Wroth, supra note 22, at 334 (footnotes omitted). The two
 Houses of Congress finally agreed in 1887, after "the passions of Reconstruction had
 cooled." Id. For a comprehensive summary of the legislative history of the Electoral
 Count Act, see Ross & Josephson, supra note 7, at 722-30, and Wroth, supra note 22, at
 334-35.
    87. 3 U.S.C § 15 (2000).
     88. Id- ("Every objection shall be made in writing, and shall state clearly and
 concisely, and without argument, the ground thereof, and shall be signed by at least one
 Senator and one Member of the House of Representatives before the same shall be
 received.").
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 28 of 63

  1678              NORTH CAROLINA LAW REVIEW                                   [Vol. 80
 Unless there is a case of "double returns," the applicable provision is
 as follows:
      [N]o electoral vote or votes from any State which shall have
      been regularly given by electors whose appointment has
      been lawfully certified to according to section 6 of this title
      from which but one return has been received shall be
      rejected, but the two Houses concurrently may reject the
      vote or votes when they agree that such vote or votes have
      not been so regularly given by electors whose appointment
      has been so certified.89
      In the case of "double returns" with "more than one return or
 paper purporting to be a return from a State," 9 the applicable
 statutory provision is considerably more complex.               The joint
 convention first looks to see if the state has determined the
 controversy, and if it has, that determination is binding. 91 If, however,
 there should be multiple state authorities which claim to have decided
 the controversy, then the two Houses of Congress, acting separately,
 must decide concurrently which set to count. If the two Houses
 disagree, then the Electoral Count Act provides that "the votes of the
 electors whose appointment shall have been certified by the executive
 of the state, under the seal thereof, shall be counted." g The Electoral
 Count Act does not address what happens if the same executive
 authority certifies different electors or if multiple executive
 authorities certify different electors.

 B.      The Problems of the ElectoralCount
     Fortunately, Senator Ross's doomsday prediction in the Sixth
 Congress that the thorny problems of the electoral count "might
 happen, and were very likely to happen"" has not been borne out in

     89. Id (emphasis added). Note that the referred to section 6, 3 U.S.C. § 6 (2000), is
 the modern codification of section 3 of the Act of 1792.
     90. 3 U.S.C. § 15.
     91. Id. § 5 ("Determination of controversy as to appointment of electors") provides:
      If any State shall have provided, by laws enacted prior to the day fixed for the
      appointment of the electors, for its final determination of any controversy or
      contest concerning the appointment of all or any of the electors of such State, by
      judicial or other methods or procedures, and such determination shall have been
      made at least six days before the time fixed for the meeting of the electors, such
      determination made pursuant to such law so existing on said day, and made at
      least six days prior to said time of meeting of the electors, shall be conclusive,
      and shall govern in the counting of the electoral votes as provided in the
      Constitution, and as hereinafter regulated, so far as the ascertainment of the
      electors appointed by such State is concerned.
     92. Id. § 15.
     93. 6 ANNALS OF CONG. 29 (1800); COUNTING ELECrORAL VOTES, supra note 3, at
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 29 of 63

 2002]                       ELECTORAL COUNTACT                     1679

 the course of two hundred and thirteen years of the Republic. There
 have been a dozen or so problems of the electoral count and
 consequent challenges to electoral votes, almost all of which occurred
 in the nineteenth-century. This section summarizes the historical
 problems of the electoral count.

                          1. The Massachusetts Incident of 1809
      The first congressional objection to the votes of electors occurred
 in the electoral count of 1809.91            On December 26, 1808,
 Representative Barker introduced a memorial from some disgruntled
 inhabitants of Hanover, Massachusetts that the appointment of
 Massachusetts electors was "irregular and unconstitutional" 95 relative
 to the Massachusetts Constitution, and praying that Congress look
 into the matter during the electoral count. When a resolution was
 called to appoint a committee of the House to investigate,
 Representative Randolph spoke in very strong terms against it:
      He said it appeared to him that, under color of redress of
      grievances, the resolution might go in a very alarming and
      dangerous manner to enlarge the sphere of action of the
      General Government at the expense of the dearest rights of
      the States. In what manner, asked he, is the General
      Government constituted? We, as one of the branches of the
      Legislature, are unquestionably the judges of our own
      qualifications and returns. The Senate, the other branch of
      the Legislature, is in like manner the judge without appeal of
      the qualifications of its own members. But with respect to
      the appointment of President on whom is that authority
      devolved in the first instance? On the electors, who are to
      all intents and purposes, according to my apprehension, as
      much the judges of their own qualifications as we are of
         ours ....   96

      Representative Rowan also spoke strongly against the resolution.
 He thought that "Congress did not possess a superintending power
 over the acts of the States in general cases" and doubted that
 Congress had any power in this case; he recommended that the
 petitions of the Massachusetts citizens not be placed on the files of
 the House "because they related to a subject on which the House had
 no power to legislate." 7 The resolution passed nevertheless, but

 16.
       94.   COUNTING ELECrORALVOTES, supra note 3, at 37-42.
       95.   I& at 37-38.
       96.   I at 38.
       97.   1& at 39.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 30 of 63

 1680                NORTH CAROLINA LAW REVIEW                   [Vol. 80
 there is no record that anything further was done. No one objected
 during the electoral count, and all Massachusetts electoral votes were
 counted.
                    2. The Indiana Incident of 1817
      The second congressional objection to the votes of electors
 occurred in the electoral count of 1817.98 On February 11, 1817, the
 two Houses gathered in the House of Representatives. During the
 electoral count, Representative Taylor, "compelled" to speak "by his
 sense of duty," 99 objected to the counting of the electoral votes from
 Indiana because the Indiana electors were elected before Indiana
 joined the Union. The Speaker of the House interrupted him and
 stated that, when assembled in joint convention, the two Houses
 "could consider no proposition, nor perform any business not
 prescribed by the Constitution."'" Accordingly, the Senate withdrew
 to its chamber by their unanimous consent. Representative Taylor
 then repeated his argument that, because the Indiana electors were
 chosen before Indiana was admitted into the Union, "the votes of that
 State were no more entitled to be counted than if they had been
 received from Missouri or any other Territory of the United
 States." ' '    In his view, the votes of the Indiana electors were
 ,,illegal.,,102
      Although Representative Taylor did not refer to it, the improper
 appointment of the Indiana electors was in violation of section 1 of
 the Act of 1792. However, the votes of Indiana's electors were cast
 after Indiana was admitted into the Union. Indiana was admitted into
 the Union as the nineteenth State effective December 11, 1816. This
 date was after the date set by Congress for the meeting of the
 electoral colleges but before the date set by Congress for the electoral
 count.
      Representative Cady countered. He
      thought that the matter had been settled by the admission of
      Senators and Representatives from Indiana to their seats,
      and that it was too late on that account to question her right
      to participate in the election of President; and that from the
      moment the constitution of the State was assented to, she


   98.   See id. at 44-47.
   99.   Id. at 46.
  100.   Id.
  101.   Id at 47.
  102.   Id
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 31 of 63

 2002]                    ELECTORAL COUNTACT                                           1681

      was entitled to all the privileges of an independent member
      of the Union.1 3
      A joint resolution to settle the question was indefinitely
 postponed by the House of Representatives." ° The Senate re-entered
 the House Chamber and the electoral count resumed. According to
 the record of congressional debate, "[n]o one appeared to question
 the power of Congress to reject the vote of Indiana if that State was
 not a State in the Union at the time the electoral votes were cast."'15
 In the end, the votes of Indiana's three electors were counted.
                    3. The Missouri Incident of 1821
      The third congressional objection to the votes of electors
 occurred in the electoral count of 1821.'° In early February of 1821,
 Congress passed a resolution appointing a joint committee "to
 ascertain and report a mode of examining the votes for President and
 Vice-President of the United States, and of notifying the persons
 elected of their election."'"     On February 13, 1821, the Senate
 resolved that if any objection was made to the electoral votes of
 Missouri and if the result of the electoral count did not turn on
 counting or omitting the Missouri votes, then the President of the
 Senate would announce the winners of the presidential and vice
 presidential electoral vote, plus a conditional tally-that is to say, if
 Missouri's votes were counted, the tally would be x; if Missouri's
 votes were not counted, the tally would be y. In the Senate, a "long
 debate" took place on this resolution and four Senators strongly
 opposed it "principally for the reason that it was not competent in the
 Senate to decide such a question in anticipation."' 08
      When the resolution was read in the House of Representatives,
 Representative Randolph stated he would rather have seen no votes
 counted at all than a "special verdict" announced:



    103. Id.
    104. Id. When Representative Sharp offered the joint resolution, Representative
 Bassett objected, stating that the resolution should not be joint because a joint resolution
 might establish a precedent which would "deprive [the] House of one of its powers, by
 permitting the Senate to participate in this question." I& at 47. There is no record of any
 Representative supporting this erroneous view. There is no textual reason to conclude
 that the House has judicial power during the electoral count but that the Senate does not,
 or vice versa.
    105. Id.
    106. See id.at 48-56.
   107. Id at 48 (Senate Resolution); id. at 51 (House Resolution).
    108. Id. at 49.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 32 of 63

 1682                 NORTH CAROLINA LAW REVIEW                    [Vol. 80
      He could not recognize in this house or the other house,
      singly or conjointly, the power to decide on the votes of any
      State.... He maintained that the electoral college was as
      independent of Congress as Congress of them; and we have
      no right, said he, to judge of their proceedings.... Suppose
      a case, in which some gentlemen of one house or the other
      should choose to turn up his nose at the vote of some State,
      and say that if it be so and so, such a person is elected; and if
      so and so, what-you-call-'im is elected--did not everybody
      see the absurdity of such a proposition?'09
 Representative Floyd also objected to the special verdict. He stated,
      If they had any power over the votes of Missouri at all, it
      was when her votes were first received; but no such power
      existed. He protested against this assumption of authority
      on the part of Congress, and wished to show his
      disapprobation of the resolution in the strongest manner. 10
      Representative Rhea agreed, finding that the Constitution was
 not designed to be expedient and that "it was not in the power of this
 House, or of both Houses, by resolution, to remedy a defect in the
 Constitution." ' '
      Soon afterwards, during the electoral count, Senator Livermore
 objected to the electoral votes from Missouri because Missouri was
 not a State of the Union. He was right. Missouri was admitted into
 the Union as the twenty-fourth State effective August 10, 1821. In
 the House, Representative Floyd submitted a resolution "[t]hat
 Missouri is one of the States of this Union, and her votes for
 President and Vice-President of the United States ought to be
 received and counted.' ' 2
      After extended comments by Representatives Randolph and
 Archer against the resolution on the ground that it was not within the
 power of the House, a motion to table the resolution passed, and the   113
 Senate reassembled in the House Chamber for the electoral count.
 The President of the Senate proceeded to announce the result of the
 vote conditionally, as provided in the Senate resolution:
      The whole number of electors appointed by the several
      States was 235. One elector in each of the States of
      Pennsylvania, Tennessee, and Mississippi having died before
      the meeting of the electoral college of which he was a

   109.   Id at 51.
   110.   IaMat 52.
   111.   Id.
   112.   Id. at 53.
   113.   Id. at 50-53.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 33 of 63

 2002]                    ELECTORAL COUNTACT                                            1683

      member, made the whole number of votes actually cast 232,
      including the vote of Missouri, of which 117 make a
      majority; or, excluding the vote of Missouri, 229, of which
      115 make a majority; but in either event James Monroe is
      elected 114
                President, and Daniel D. Tompkins, Vice-
      President.
      When Representative Floyd asked the President of the Senate if
 Missouri's votes were in fact counted, the joint convention broke into
 disorder.     Representative Randolph tried to speak but was
 pronounced out of order by the Speaker of the House. The President11 5
 of the Senate concluded and the Senate withdrew to its Chamber.
      Thereafter, Representative Randolph introduced two resolutions
 in the House declaring that the electoral count was illegal. The first
 resolution provided that the electoral votes of Missouri were counted.
 The second resolution provided
      [t]hat the whole number of electors appointed, and of votes
      given for President and Vice-President, has not been
      agreeably announced by the presiding officer of the Senate
      and House of Representatives, agreeably to the provision of
      the Constitution of the United States, and that therefore the
      proceeding has been irregularand illegal."6
      As he was putting his resolutions into writing, the House voted to
                                                   7
 adjourn and did not act upon either resolution."
          4. The Postmaster and Michigan Incidents of 1837
      The fourth congressional objection to the votes of electors
 occurred during the electoral count of 1837.118 The electoral count of
 1837 actually involved two separate incidents: the Postmaster
 Incident and the Michigan Incident. In late January of 1837, the
 Senate and the House of Representatives resolved to appoint a joint
 committee "to ascertain and report a mode of examining the votes of
 President and Vice President of the United States, and of notifying

   114. Id. at 50. As this pronouncement makes clear, the electoral count of 1821 is
 unique for another reason: this was the first (and only) time when electors who were
 appointed died before the meeting of the electoral colleges. It appears that the President
 of the Senate miscalculated the number necessary for a majority of the votes. The
 Electoral College Clauses provide that the needed majority be "a majority of the whole
 number of Electors appointed." U.S. CONsT. amend. XII (emphasis added); see U.S.
 CONST. art. II, § 1, cl. 3. Thus, the correct majority was either 116 or 118 votes, depending
 on the exclusion or inclusion of Missouri.
   115. COUNTING ELECrORAL VOTEs, supranote 3, at 56.
   116. Id.(emphasis added).
   117. Id.at 56.
   118. See id. at 70-76.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 34 of 63

  1684              NORTH CAROLINA LAW REVIEW                                    [Vol. 80
 the persons of their election."119
                                  '   Senator Grundy, who was one of
 three Senators on the joint committee, reported to the Senate on
 February 4, 1837 that some electors may have been constitutionally
 ineligible to be electors because "no Senator or Representative, or
 Person holding an Office of Trust or Profit under the United States,
 shall be appointed an elector. '120 He reported that Isaac Waldron, an
 elector from New Hampshire, was the "president of a deposit-bank at
 Portsmouth, and was appointed and acting as pension-agent, without
 compensation, under the authority of the United States" and the two
 North Carolina electors held the "offices of deputy postmasters under
 the General Government. 121 In addition, the appointment of three
 other electors (from New Hampshire, Connecticut, and North
 Carolina, respectively) was in question.122 The Committee concluded
 that the Electoral Incompatibility Clause "excludes and disqualifies
 deputy postmasters from the appointment of electors; and the
 disqualification relates to the time of the appointments, and that a
 resignation of the office of deputy postmaster after his appointment
 as elector would     not entitle him to vote as elector under the
 Constitution.' ' 123
      The Senate took no further action on the issue. Debate in the
 House of Representatives was minimal. One Representative pointed
 out that all of these electors probably resigned from their offices
 before the day on which they cast their votes, 2 4 but was quickly
 corrected by another who noted that the ineligibility under the
 Electoral Incompatibility Clause extended to the time of the
 appointment.Y5 These issues were not raised during the electoral
 count, and all of these electoral votes were counted.
     The Michigan Incident was similar to the Indiana and Missouri
 Incidents. Michigan was admitted into the Union as the twenty-sixth
 State effective January 26, 1837. This date was after the date
 Congress set for the meeting of the Electoral Colleges, but before the
 date Congress set for the counting of electoral votes. On February 4,
 1837, the Senate proposed a resolution to count Michigan's electoral
 votes in the same manner as Missouri's. Senator Norvell objected to


   119. Id. at 70 (Senate Resolution).
   120. U.S. CONsT. art. II, § 1, cl. 2.
   121. COUNTING ELECTORAL VOTES, supra note 3, at 71 (remarks of Sen. Grundy).
   122. See id. (noting that "five or six votes only would in any event be abstracted from
 the whole number").
   123. I&
   124. Id. at 73 (remarks of Rep. Cambreling).
   125. Id. (remarks of Rep. Thomas).
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 35 of 63

 2002]                   ELECTORAL COUNTACT                                         1685

 this resolution, arguing that the Michigan question was exactly the
 same as that of the Indiana Incident.'26
      Senator Calhoun also opposed the resolution, stating that
 "Michigan was a State de facto at the time she formed her
 constitution; and if her electors were not legally appointed, neither
 were her Senators, who were admitted upon this floor."'27 The Senate
 adopted this resolution by a vote of thirty-four to nine. 28 The House
 adopted the same resolution on February 6, 1837, although
 Representative Crary of Michigan also "thought the position of his
 State was analogous to that of Indiana, and that her vote should be
 received and counted."'129
       On February 8, 1837, the President of the Senate announced the
 result of the electoral count in the same way as in the Missouri
 Incident. Martin Van Buren of New York was declared the
 President-elect.3 0 If Michigan's votes were counted, he had 170; if
 not, he had 167 votes. In either event, Martin Van Buren had a
 majority of the whole number of electors appointed. However, a
 different situation presented itself in the case of the Vice President-
 elect. Richard M. Johnson of Kentucky had the most electoral votes.
 If Michigan's votes were counted, he had 147 votes; if not, he had 144
 votes. In either event, he did not have the requisite majority to be the
 Vice President-elect, and thus, the choice devolved upon the
 Senate. 131 The Senate elected Johnson as Vice President.
                    5. The Wisconsin Incident of 1857
      The fifth congressional objection to the votes of electors
 occurred during the electoral count of 1857.132 In the election of 1856,
 the five electors of the State of Wisconsin did not cast their votes on
 the day prescribed by federal law because of a snowstorm. 33 The
 President of the Senate counted Wisconsin's electoral votes over the
 objections of both Representatives and Senators assembled in


   126. Id. at 72 (remarks of Sen. Norvell). Senator Lyon agreed and "contended that
 Michigan was as much entitled to count her vote as was the State of Indiana." IdL Senator
 Clay disagreed. Id.
   127. Id. (second emphasis added).
   128. Id.
   129. Id. at 73.
   130. Id. at75.
   131. Id. at 75-76.
   132. See i&. at 86-144.
   133. See, e.g., id. at 117 (remarks of Sen. Seward) (referring to "accidental delay
 produced by the interposition of Providence preventing the vote being cast at the
 prescribed time").
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 36 of 63

  1686              NORTH CAROLINA LAW REVIEW                                   [Vol. 80
 convention.11 When Representative Lechter objected to Wisconsin's
 electoral votes and moved to exclude them, the presiding officer (the
 President of the Senate) simply stated that no debate was in order
 when the votes were being read by the tellers or even after they were
 finished.'35 When Senator Crittenden then asked the presiding
 officer, "Do I understand the Chair to decide that Congress, in no
 form, has power to decide upon the validity or invalidity of a
 vote?,"' the presiding officer replied that it was his constitutional
 duty to announce the result of the electoral count and that "[w]hat
 further action may be taken, if any further action should be taken,
 will devolve upon the properly-constituted authorities of the country-
 the Senate or House of Representatives, as the case may be.' ' 37
      While the final result did not turn on the decision to count
 Wisconsin's electoral votes, several Members of Congress were
 concerned that the decision to count Wisconsin's electoral votes
 would set a dangerous precedent. 38 According to Senator Pugh,
 unlike the Missouri Incident which was "never likely to happen
 again," the Wisconsin Incident "may occur one hundred times again,
 if the Government should stand that many years.' '                       39    Senator
 Crittenden made the point that the electoral votes of Wisconsin were
 not really "votes" at all, by stating: "Here is a vote tendered us from
 a State given on another day. We call it a vote in common parlance;
 but in the constitutional sense is it a vote at all? Is it not merely null?
 Unquestionably, it seems to me, it is null and void."' 4° This statement
 attracted considerable support. Almost every Member of Congress
 who spoke on the subject agreed that the votes of Wisconsin should
                           4
 not have been counted.' '



    134. Id. at 87-89.
    135. Id. at 89.
    136. Id.
    137. Id.; see also id. ("The Presiding Officer would state that, the votes having been
 counted and announced, the functions of the two houses, assembled for the purpose of
 counting the votes, are discharged.").
    138. See, e.g., id (remarks of Rep. Marshall); id (remarks of Sen. Toombs); id. at 90
 (remarks of Sen. Butler); id. at 110 (remarks of Sen. Nourse).
    139. Id. at 137 (remarks of Sen. Pugh).
    140. Id at 131.
    141. Senators Hale and Houston were the sole exceptions in the Senate. Senator Hale
 urged that Wisconsin's votes should be counted because the people of Wisconsin ought
 not to be disenfranchised because of an "accident" of their agents. His cry was very much
 one of substance over form. See id at 119. Senator Houston argued that any resolution
 that Wisconsin's votes should not have been counted was unconstitutional. In his view,
 the electoral count of 1857 was "good, constitutional, and lawful." Id at 122-23.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 37 of 63

2002]                    ELECTORAL COUNTACT                                        1687

    Ultimately, resolutions were introduced in each House of
Congress that Wisconsin's electoral votes were null and void and
ought not to have been included in the electoral count, but these
resolutions failed. 42

       6. The Greeley Incident and the Other Incidents of 1873
     The sixth congressional objection to the votes of electors
occurred during the electoral count of 1873.1'" In the election of 1872,
three Georgia electors cast votes for Horace Greeley of New York.
Greeley had died after the November popular election but before the
electors met in the electoral colleges. These three electors voted for
Greeley anyway, feeling bound by the wishes of their constituents.
Senator Hoar objected to these three votes and stated that they could
not be counted because Greeley was not a "person" within the            144
meaning of the Constitution when the electors voted.
Representative Banks objected on the basis that "we have no power
to decide on the eligibility of any man voted for for President."' 45 The
question of whether to count these votes was a very close one. The
House voted 101 to 99 (with forty not voting) not to count the
Greeley votes. 46 The Senate voted forty-four to nineteen to count
them. 147 Because the two Houses did not concur, the Greeley    48
                                                                     votes
were not counted pursuant to the Twenty-second Joint Rule.
     The electoral count of 1873 presented at least three other
important challenges to electoral votes. First, two objections were
made to Mississippi's electoral votes. The Mississippi electors did not
 certify that they voted by ballot. 49           One of the electors from that
state, A.T. Morgan, was absent and the electors appointed an
alternate, J.J. Spellman. Spellman's appointment was not signed by
the Governor of Mississippi as required by the laws of that state. 5°
The House and the Senate5 voted to count all Mississippi electoral
votes, including Spellman's. '

   142. See id at 132 (proposed joint House and Senate resolution); id at 144 (House).
   143. See id at 357-408.
   144. Id at 366.
   145. Id. at368.
   146. Id
   147. Id. at 377.
   148. Id. at 380. The Greeley precedent almost certainly affected the electoral vote of
 1912. In that year, the defeated Republican candidate for Vice President died before the
 meeting of the electoral colleges, and the pledged electors voted for someone else. See
 115 CONG. REC. 148 (1969) (remarks of Rep. McCulloch).
   149. See COUNTING ELECTORAL VOTES, supra note 3, at 380.
   150. See id
   151. Id
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 38 of 63

  1688               NORTH CAROLINA LAW REVIEW                                    [Vol. 80

       Second, Senator Morton objected to Georgia's votes for a
  different reason. Apparently two votes were cast for Charles J.
  Jenkins of Georgia for President, and five votes for Alfred H.
  Colquitt of Georgia for Vice President.52 This vote distribution
  revealed a mathematical certainty: at least one of the electors from
  that State had violated the constitutional requirement that he vote for
  at least one person who is not an inhabitant of his State. 3 Because
  the objection was made after the electoral votes from Georgia were
  read, the Chair decided that it came too late and no decision was
  made on this objection. 54
       Third, two objections were made to Texas's electoral votes. The
  executive authority of Texas had failed to certify that its electors were
  properly appointed. Moreover, four of the electors (less than a
  majority of those elected) themselves appointed four persons to take
  the place of four elected, but absent, electors. 155 Nonetheless, both
  the House and the Senate voted to count all of Texas's electoral
  votes. 56
                  7. The Hayes-Tilden Incident of 1877
       The seventh and most important objection to the votes of
  electors occurred during the electoral count of 1877-the "never
  again" incident that directly led to the passage of the Electoral Count
  Act roughly a decade later. Undoubtedly, the electoral count of 1877
  is the most objectionable electoral count in history, having been
  described by one of our leading scholars as "the most violent,
  fraudridden, and tumultuous in history."' 57
       In 1876, Democrat Samuel J. Tilden squeaked out a majority of
  the total number of popular votes for President, defeating Republican
  Rutherford B. Hayes by just 250,000 votes. 58 Hayes, however,

    152. Id.
    153. Id
    154. Id.at 380-81.
    155. Id at 382-83.
    156. Id.at 389.
    157. Michael W. McConnell, The Forgotten Constitutional Moment, 11 CONST.
  COMMENT. 115, 127 (1994).
    158. For an excellent summary of the incident, see McConnell, supra note 157, at
  127-33. For the principal historical scholarship on this incident, see CHARLES FAIRMAN,
  FIVE JUSTICES AND THE ELECTORAL COMMISSION OF 1877 (Paul A. Freund & Stanley
  N. Katz eds., 1988); ERIC FONER, RECONSTRUCTION:                 AMERICA'S UNFINISHED
  REVOLUTION 1863-1877, at 575-87 (1988); PAUL LELAND HAWORTH, THE HAYES-
  TILDEN DISPUTED PRESIDENTIAL ELECTION (1906); KEITH POLAKOFF, THE POLITICS
  OF INERTIA: THE ELECTION OF 1876 AND THE END OF RECONSTRUCTION (1973). For a
  discussion of this incident by those who have written on the Electoral Count Act, see, for
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 39 of 63

 2002]                    ELECTORAL COUNTACT                                           1689

 claimed a one-vote majority of the electoral votes with 185 votes to
 Tilden's 184. The problem was that rival Republican and Democratic
 state governments in three states-Florida, Louisiana, and South
 Carolina-each had sent rival electoral certificates to Congress,
 presenting the standard case of "double returns" from these states. 5 9
       After mediation failed, Congress created an "Electoral
 Commission" to resolve the disputed double returns from these
 states. 16° This Commission was to consist of fifteen persons: five
 Senators, five Representatives, and five Justices of the Supreme
 Court. As ought to be apparent, the Commission has some very eerie
 similarities to the Grand Committee of 1800. The plan was to appoint
 seven Republicans and seven Democrats; the fifteenth person would
 be a Justice of the Supreme Court picked by the other four "partisan"
 Justices. Justice David Davis, an Independent, initially received the
 nod to be this fifteenth person, but he declined the offer after the
 Illinois Legislature appointed him to fill a vacancy in the Senate.
 Justice Joseph P. Bradley, a Republican, then received the thankless
 job.



 example, GLENNON, supra note 18, at 16-17, and Wroth, supra note 22, at 331-34 & 331
 n.46 (collecting other sources).
    159. There was a problem with one electoral vote from Oregon as well: one of the
 Oregon electors for Hayes was a postmaster, and was therefore ineligible to the office of
 elector, see U.S. CONST. art. II, § 1, cl. 2. Oregon's Democratic Governor, refusing to
 certify the electoral certificate, struck the name of the postmaster-elector for Hayes and
 substituted that of an elector for Tilden, who received the next most votes. This account is
 briefly recollected in Harrison, supra note 23, at 700 n.2 (citing ARI HOOGENBOOM, THE
 PRESIDENCY OF RUTHERFORD B. HAYES 30-31 (1988)).
    160. During the Electoral Count Act debates, at least one Senator noted that the
 Electoral Commission of 1877 was constitutionally suspect, though he noted that it was "a
 wise solution to a great difficulty." See 17 CONG. REc. 817 (1886) (remarks of Sen.
 Sherman). In his book on Reconstruction, Professor Bruce Ackerman calls this Electoral
 Commission "extraconstitutional."           2 BRUCE ACKERMAN, WE THE PEOPLE:
 TRANSFORMATIONS 247 (1998). Perhaps this is a clever attempt to avoid calling it
 "unconstitutional." Other scholars have firmly taken the position that the Electoral
 Commission was unconstitutional. I agree. See, e.g., Harrison, supra note 23, at 700 n.3
 ("Under now-current separation of powers doctrine the commission was almost certainly
 unconstitutional. Its members exercised significant government power but were not
 appointed consistently with the Appointments Clause, as Buckley v. Valeo says they
 should have been.") (citation omitted); Tribe, supra note 17, at 278 & n.438. Professor
 Tribe states:
      Today, of course, the service on such a body by members of Congress would be
      understood to violate the separation of powers as construed by Buckley v. Valeo,
      and the reservation of a veto power in Congress acting by anything less than full
      legislation presented to the President for signature or veto would be understood
      to violate the nonparliamentary structure of our government.
 (citation omitted) (citing INS v. Chadha, 462 U.S. 919, 959 (1983)).
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 40 of 63
  1690               NORTH CAROLINA LAW REVIEW                                     [Vol. 80

       Interestingly, the Commission was to have "the same powers, if
  any, now possessed.., by the two Houses."16' The Commission was
  only to have jurisdiction over the cases of double returns; objections
  to electoral votes in cases of single returns would be handled as later
  provided by the Electoral Count Act (the two Houses, meeting
  separately, would need to concur to reject a vote). The decisions of
  the Commission, like that of the Grand Committee, were to be final,
  but with one exception: the two Houses could overturn the decision
  of the Commission if they so concurred. 162
       Given the political composition of the Commission, it is not
  surprising that the Commission secured a victory for Hayes. In each
  case of double returns, the Commission voted eight to seven to count
  the votes of the Republican electors by a strict party vote, with Justice
  Bradley casting the decisive vote in each case. This perceived
  partisanship had huge political costs. The Democrats controlled the
  House of Representatives and threatened a filibuster to delay the
  counting of electoral votes. A constitutional crisis loomed: if no
  President was elected by March 4, 1877, then the Presidential
  Succession Clause might kick in.'63
       The famous "Compromise of 1877," announced on March 1,
  1877, served to avert this crisis. Southern Democrats would proceed
  with the formal counting of the electoral votes, allowing Republican
  Hayes to be elected President, but would extract several substantial
  concessions from him.           Among other things, congressional
  Republicans, speaking for Hayes, agreed to cease federal military
  support for the Reconstruction governments of the South, sealing the
  end of Reconstruction. The upshot of the Hayes-Tilden Incident is
  that Hayes became President although he was the clear loser in the
  popular vote and the likely loser of the electoral vote. 64




   161. Act of Jan. 29,1877, ch. 37, § 2, 19 Stat. 227,229; see Wroth, supra note 22, at 331.
   162. This "two-House veto" provision is constitutionally problematic. See INS v.
 Chadha, 462 U.S. 919, 944-51 (1983); Tribe, supra note 17, at 278 (noting same point).
   163. See text accompanying infra note 476.
   164. The modem view is that Samuel Tilden should have garnered the electoral votes
 of Florida, thus giving him a several vote majority of the electoral votes. See, e.g., C.
 VANN WOODWARD, REUNION AND REACTION: THE COMPROMISE OF 1877 AND THE
 END OF RECONSTRUCTION 19 (2d. ed. 1966); Jerrell H. Schofner, Florida Courts and the
 Disputed Election of 1876, 48 FLA. HIST. Q. 26, 46 (1969); Jerrell H. Schofner, Florida in
 the Balance: The Electoral Count of 1876,47 FLA. HIST. Q. 122,148-50 (1968).
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 41 of 63

2002]                    ELECTORAL COUNTACT                          1691

                      8. The Hawaii Incident of 1961
     The eighth congressional objection to the votes of electors
occurred during the electoral count of 1961.165 This incident,
involving the validity of the electoral certificate(s) of Hawaii, was the
most significant problem of the electoral count of the twentieth
century, and the one most relevant given recent history.
     The initial election results in Hawaii showed Republicans
Richard M. Nixon and Henry Cabot Lodge as the winners of the
popular vote for President and Vice President. A slate of Nixon-
Lodge electors was appointed on November 16, 1960, certified by the
acting Governor of Hawaii on November 28, 1960. A recount was
ordered to begin on December 13, 1960. On December 19, 1960, a
slate of Nixon-Lodge electors cast their votes for President and Vice
President. 16 6 This electoral certificate was previously certified by the
Acting Governor of Hawaii. 167 However, on December 19, 1960, a
slate of Kennedy-Johnson electors also cast their votes for President
and Vice President, without any previous certification from the
executive authority of Hawaii.168 On December 30, 1960, the Circuit
Court of the First Judicial Circuit of the State of Hawaii determined
that the Kennedy-Johnson electors won the popular vote in Hawaii. 169
A few days later, on January 4, 1961, the newly-elected Governor of
Hawaii certified the electoral certificate of the Kennedy-Johnson
electors. 7 The Administrator of General Services received this
certification on January 6, 1961-the day of the electoral count.
     During the electoral count, President of the Senate Richard
Nixon stated that "[t]he Chair has received three certificates from
persons claiming to be the duly appointed electors from the State of
Hawaii.' 17     These three certificates were (1) the Nixon-Lodge
electoral certificate of December 19, 1960, certified by the executive
authority of Hawaii as of November 28, 1960; (2) the Kennedy-
Johnson electoral certificate of December 19, 1960; and (3) the
Kennedy-Johnson electoral certificate of December 19, 1960, certified
by the newly-elected executive authority of Hawaii as of January 4,
1961.172 After these three electoral certificates were opened and read,

  165.   See 107 CONG. REC. 288-91 (1961).
  166.   See id. at 289.
  167.   See id.
  168.   See id.
  169.   See id at 290.
  170.   See idU at 289-90.
  171.   Mc at 289.
  172.   Id.at 289-90.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 42 of 63

  1692               NORTH CAROLINA LAW REVIEW                                   [Vol. 80

 Nixon stated that "[t]he Chair has knowledge, and is convinced that
 he is supported by the facts" that the third electoral certificate
 "properly and legally portrays the facts" with respect to the popular
 election in Hawaii. 73 Accordingly, he stated that
      [i]n order not to delay the further count of the electoral vote
      here, the Chair, without the intent of establishinga precedent,
      suggests that the electors named in the certificate of the
      Governor of Hawaii dated January 4, 1961, be considered as
      the lawful electors from the State of Hawaii. 74
      No one   objected and all three of Hawaii's electoral votes were
           75
 counted.1
                       9. The Bailey Incident of 1969
      The ninth and most recent congressional objection to the votes of
 electors occurred during the electoral count of 1969.176 It was well
 known before the joint convention convened for the purposes of the
 electoral count that Dr. Lloyd W. Bailey, a Republican elector from
 North Carolina, had been "faithless" in giving his two electoral
 votes-instead of following the popular vote for Richard M. Nixon
 for President and Spiro Agnew as Vice President, Dr. Bailey voted
 for George C. Wallace for President and Curtis Lemay as Vice
 President. The Governor of North Carolina certified the state's
 electoral certificate with knowledge of Dr. Bailey's faithlessness.
      A few days before the electoral count, some Senators, led by
 Senator Muskie (who was then running for Vice President),
 introduced a memorandum in the Senate recommending that Dr.
 Bailey's vote be rejected, and that it be recast in accordance with the
 popular vote in North Carolina. 77 This memorandum announced the
 authors' intention to object to the vote of North Carolina on January
 6, 1969.178     During the electoral count on January 6, 1969,
 Representative O'Hara objected to the electoral votes of North


    173. Id. at 290.
    174. Id. (emphasis added).
    175. The result of the electoral count did not even come close to turning on the legal
 status of Hawaii's three electoral votes. Democrats Kennedy and Johnson prevailed in the
 electoral count by a margin of eighty-four votes. See id. at 291.
    176. See 115 CONG. REc. 9-11 (1969); id. at 146-72 (House debate); id. at 209-46
 (Senate debate); see also GLENNON, supra note 18, at 37-40 (discussing history); Ross &
 Josephson, supra note 7, at 731-37 (same).
    177. See 115 CONG. REC. 11.
    178. Interestingly, the memorandum cited the Necessary and Proper Clause, U.S.
  CONST. art. I, § 8, cl. 18, as the font of power to pass the Electoral Count Act. See 115
  CONG. REC. 11.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 43 of 63

 2002]                    ELECTORAL COUNTACT                                          1693

 Carolina and presented a written objection signed by him and Senator
 Muskie in which thirty-seven Representatives and six Senators
 joined.179 The objection proposed simply that Dr. Bailey's vote be
 rejected (and not recast in accordance with the popular vote in North
 Carolina).5 0
      The debate in each House of Congress was extensive, with over
 forty Representatives and over twenty-five Senators speaking on the
 objection. The House of Representatives debated the objection for a
 full two hours-the maximum time allowed by the Electoral Count
 Act. The rationale in the House for sustaining the objection and
 rejecting Dr. Bailey's vote was mixed. Some Representatives argued
 that only Congress could check faithless electors.'" Representative
 Edmondson stated that the "power of Congress to count the electoral
 vote" is "the only constitutional power specifically granted to
 anybody [sic] or agent to protect the electoral system against arbitrary
 or unlawful action to thwart the popular will of the people of the
 States in electing the President of the United States."'          Other
 Representatives argued that Dr. Bailey's faithless vote was not
 "regularly given" within the meaning of the Electoral Count Act. 3
 Yet others rested their justification to sustain the objection on more
 lofty constitutional arguments of "one man, one vote"'" and
 "justice. ,
       The Representatives who spoke against the objection were more
 unified. They argued that Congress had no power not to count Dr.
 Bailey's faithless vote because that power was not within the meaning
 of the Electoral Count Act, 6 or because Congress had no such power
 under the Constitution.' 7 Representative Rarick put the latter point
 best:

   179. See id. at 146.
   180. See id.
   181. See, e.g., id. at 147 (remarks of Rep. Wright) (stating that Congress has "the legal
 and constitutional power, and indeed the duty, to prevent faithless electors from
 corrupting the election of a President"); i at 158 (remarks of Rep. Corman) (stating that
 "Congress sits as a court of last resort"); id. at 170 (remarks of Rep. O'Hara) ("Only the
 Congress can see to it that the elector respects his obligations ...
   182. Id.at 148.
   183. See, e.g., id. at 169 (remarks of Rep. Schwengel).
   184. See, e.g., id at 146-47 (remarks of Rep. Wright); id at 158 (remarks of Rep.
 Rodino).
   185. See id. at 165 (remarks of Rep. Hosmer).
   186. See, e.g., hi at 151 (remarks of Rep. Anderson) (arguing that Electoral Count Act
 was "intended to circumscribe to the very narrowest limits the power of the Congress to
 do anything other than to certify the results in the States"); id at 168 (remarks of Rep.
 Fish).
   187. See, e.g., id. at 148-49 (remarks of Rep. McCulloch) (arguing that electors are
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 44 of 63

 1694               NORTH CAROLINA LAW REVIEW                                      [Vol. 80

        Under the Constitution and our oath of office we, as
       Congressmen, are not election supervisors nor given
       discretion to recompute the vote received from a sovereign
       state. The Constitution clearly proscribes our duty as "to
       count the electoral votes," the ministerial function of a
       central collecting agency and a tabulating point.""
       Ultimately, the House of Representatives voted to reject the
 objection, but not by an overwhelming margin. The vote was 170 to
 228, with thirty-two not voting and four not yet sworn." 9 Among the
 Representatives voting for the objection were future Presidents
 George H.W. Bush and Gerald R. Ford. 9° The Senate debate was
 similar but briefer. Ultimately, the Senate also voted to reject the
 objection not by an overwhelming margin. The vote was thirty-three
 to fifty-eight, with seven not voting and two live pair. 91 Because both
 Houses of Congress did not vote to sustain the objection and reject
 Dr. Bailey's vote, the vote was counted.

   II. THE ARGUMENT AGAINST THE CONSTITUTIONALITY OF THE
                   ELECTORAL COUNT ACT
        In Part I, we examined the principal congressional efforts to
 regulate the electoral count. The fact that Congress did not pass the
 Electoral Count Act until 1887, and only after several failed attempts
 to enact legislation regulating the counting of electoral votes is
 (perhaps surprisingly) of minimal consequence in assessing the
 constitutionality of the Electoral Count Act. 19 The better clue relates

 independent under the Electoral College Clauses and concluding that Congress could not
 "tamper" with Dr. Bailey's vote). Representative Poff argued that
      [i]f the Congress can look behind the solemn certificate of the Chief Executive of
      a State, reject that certificate and by a simple majority vote decide what electoral
      votes were "regularly given" and which were given irregularly, then the Congress
      can expropriate from the people their power to elect their President.
 Id. at 157; see also id. at 162 (remarks of Rep. Henderson) (arguing that Congress's role is
 like a local board of elections whose "function is solely to receive the votes, count them,
 and certify the result.., not to determine whether votes were properly cast"); id at 164
 (remarks of Rep. Eckhardt) (stating that it was "beyond question in the Constitution...
 that the joint session of the House and the Senate has no power whatsoever other than to
 hear the returns of the electors read"); id. at 166-67 (remarks of Rep. Fountain) (calling
 Congress "powerless").
    188. Id. at 168.
    189. Id. at 170.
    190. For Representative Gerald Ford's statement in support of the objection, see id at
 163-64.
    191. Id. at 246.
    192. The converse is not true. See, e.g., Harmelin v. Michigan, 501 U.S. 957, 980 (1991)
 (opinion of Scalia, J.) (stating that "[t]he actions of the First Congress ... are of course
 persuasive evidence of what the Constitution means") (citations omitted); Powell v.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 45 of 63

 2002]                     ELECTORAL COUNTACT                                           1695

 not to timing, but to tone. As we saw somewhat in Part I and as we
 shall see in more detail in this Part, the constitutionality of legislation
 regulating the counting of electoral votes was controversial from the
 start. In particular, the constitutionality of the Electoral Count Act
 was considered and debated by several Congresses that considered
 such legislation in the Reconstruction Era. This level of extended
 debate should raise a red flag as to the possible unconstitutionality of
 the Electoral Count Act.
       An "interpretivist" resolution of the constitutionality of the
 Electoral Count Act must, however, be based on arguments from
 constitutional text and structure. This Part sets forth these two
 arguments. The textual argument carefully parses the words of the
 Electoral College Clauses, and shows how the Electoral Count Act
 clashes with the Constitution. In addition, the textual argument,
 unlike conventional "clause-bound" textual arguments, examines the
 text of the Constitution as a coherent whole, invoking a host of other
 clauses, in order to squeeze yet additional meaning from the Electoral
 College Clauses, and shed additional light on the unconstitutionality
 of the Electoral Count Act. The structural argument identifies a
 number of structural principles of the Constitution that relate to
 presidential election and to legislation, and shows how the Electoral
 Count Act violates these principles.
      Anyone who wishes to argue that the Electoral Count Act is
 constitutional bears a high burden of proof, in light of the arguments
 presented, and in light of the asymmetry of constitutional proofs. In
 order to prove that a statute is unconstitutional, one need only find
 one reason why a statute is unconstitutional, whereas in order to
 prove that a statute is constitutional, one must defend a statute
 against all possible constitutional attacks and find that there is no
 possible reason why a statute is unconstitutional. 93 There is more
 than one reason why the Electoral Count Act is unconstitutional.




 McCormack, 395 U.S. 486, 547 (1969) ("[T]he precedential value of these cases tends to
 increase in proportion to their proximity to the Convention in 1787."); Wisconsin v.
 Pelican Ins. Co., 127 U.S. 265, 297 (1888) (stating that an act "passed by the first Congress
 assembled under the Constitution, many of whose members had taken part in framing that
 instrument ....is contemporaneous and weighty evidence of its true meaning"). Even
 then, however, a statute is only presumed to be constitutional.
    193. This part presents, in my view, many if not most of the arguments against the
 constitutionality of the Electoral Count Act. There may be others.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 46 of 63

  1696               NORTH CAROLINA LAW REVIEW                                      [Vol. 80
 A.      The TextualArgument

               1. Some Basics: Who, What, When, and Where?
       The relevant clause of the Twelfth Amendment provides that
  "[t]he President of the Senate shall, in the presence of the Senate and
 House of Representatives, open all the certificates and the votes shall
 then be counted." 194 Careful parsing of these twenty-seven words
 yields surprisingly rich clues into the mode and manner of the
 electoral count. These words and the rest of the Twelfth Amendment
  (and their counterparts in the original Constitution) are, not
 surprisingly, woefully understudied. 95 As Professors Levinson and
 Young recently put it, "[t]he Twelfth Amendment is a Rodney
 Dangerfield of the Constitution: it gets no respect.1 ' 9 6 At the same
 time, these words of the Twelfth Amendment are incredibly
 important in assessing the constitutionality of the Electoral Count
 Act: the Constitution is supreme to conflicting federal statutory
 law. 197 In order to determine whether the Electoral Count Act is
 constitutionally permissible, we must examine the Constitution itself.
       This sub-section addresses the following five basic questions
 relating to counting electoral votes: (1) Who is the presiding officer
 of the electoral count? (2) Who opens the electoral certificates and
 counts the electoral votes? (3) What is counting and what is to be
 counted? (4) When is the counting done? (5) Where is the counting
 done?

       a.    Who Is the Presiding Officer of the Electoral Count?
      The relevant clause of the Twelfth Amendment provides that
 "[t]he President of the Senate shall, in the presence of the Senate and

    194. U.S. CONST. amend. XII. The only differences between the text of the Twelfth
 Amendment and the text of the original Constitution are in punctuation and
 capitalization. See U.S. CONST. art. II, § 1, cl. 3.
    195. No full-scale law review article dissects the text of the Twelfth Amendment. Two
 recent articles explore the so-called "Habitation Clause" of the Twelfth Amendment
 which provides that Electors must not vote for a President and Vice President of the same
 state as themselves. U.S. CONST. amend. XII ("The Electors shall meet in their respective
 states and vote by ballot for President and Vice-President, one of whom, at least, shall not
 be an inhabitant of the same state with themselves;...."); see James C. Ho, Much Ado
 About Nothing: Dick Cheney and the Twelfth Amendment, 5 TEX. REV. L. & POL. 227
 passim (2000); Sanford Levinson & Ernest A. Young, Who's Afraid of the Tvelfth
 Amendment?, 29 FLA. ST. U. L. REV. 925,932-54 (2001).
    196. Levinson & Young, supra note 195, at 925.
    197. See U.S. CONST. art. VI, cI. 2 ("This Constitution, and the Laws of the United
 States which shall be made in Pursuance thereof... shall be the supreme Law of the
 Land....") (emphasis added); Marbury v. Madison, 5 U.S. (1 Cranch) 137, 180 (1803).
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 47 of 63

 2002]                    ELECTORAL COUNTACT                                          1697

 House of Representatives, open all the certificates and the votes shall
 then be counted. 198 This clause does not explicitly answer the
 question of who is the presiding officer during the electoral count. 9
 Because the President of the Senate is the only named individual in
 the clause, it may be tempting to conclude that the President of the
 Senate is the presiding officer of the electoral count, but this is far
 from clear. There are three possibilities with respect to the President
 of the Senate: (1) the President of the Senate shall be the presiding
 officer of the electoral count; (2) the President of the Senate may be
 the presiding officer of the electoral count; and (3) the President of
 the Senate shall not be the presiding officer of the electoral count.
      As a textual matter, nothing in the clause suggests that the
 President of the Senate shall be the presiding officer of the electoral
 count.2° As a structural matter, the President of the Senate is the
 presiding officer of the Senate, not the presiding officer of the joint
 convention of Senators and Representatives (or the joint assemblage
 of the Senate and House of Representatives), which needless to say is
 not the Senate. It seems only logical that there must be a presiding
 officer of the electoral count. Every parliamentary body needs a
 presiding officer in order to function smoothly °1 What then is the
 answer to the constitutional question?
      If historical practice is any guide, the President of the Senate or
 the President pro tempore shall be (or at least may be) the presiding
 officer of the electoral count. One of these two officers has been the
 presiding officer of every electoral count since the beginning of the
 Republic-before and after the adoption of the Electoral Count Act.
 Not surprisingly, 3 U.S.C. § 15 provides that
      Congress shall be in session on the sixth day of January
      succeeding every meeting of the electors. The Senate and
      House of Representatives shall meet in the Hall of the
      House of Representatives at the hour of 1 o'clock in the

   198. U.S. CONST. amend. XII.
   199. This simple point was not lost during the Electoral Count Act debates. See, e.g.,
 17 CONG. REC. 865 (1886) (remarks of Sen. Morgan) ("We frequently hear it stated that
 the President of the Senate is the president of the joint meeting. If he is, it is only by
 reason of some rule or agreement between the two Houses. The Constitution is silent
 upon that point. The Constitution speaks of no officer who is to preside over the joint
 meeting.").
   200. But see COUNTING ELECTORAL VOTES, supra note 3, at 541 (remarks of Sen.
 Maxey) ("By the Constitution [the President of the Senate] is the presiding officer over
 the joint assemblage of the Senate and the House.").
   201. Cf. 17 CONG. REC. 865 (remarks of Sen. Morgan) (discussing presiding officer of
 the electoral count) ("To be a house in parliamentary law and in constitutional law it must
 be organized under the presidency of its rightful officer.").
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 48 of 63

 1698                NORTH CAROLINA LAW REVIEW                                      [Vol. 80

       afternoon on that day, and the President of the Senate shall
      be theirpresiding officer.2°
 This unbroken historical practice is entitled to great weight in
 constitutional interpretation.2 °3
      This is not to say, however, that historical practice necessarily
 settles the meaning of the Electoral College Clauses. The text of the
 Constitution is the first-best and hence authoritative source of
 constitutional meaning, not extra-textual sources of constitutional
 meaning. To the extent that the text of the Constitution is clear, it
 may not be trumped by extra-textual history. The Electoral College
 Clauses are not quite as ambiguous as they may appear when we read
 the Constitution as a coherent whole. Although it may seem bizarre,
 it may be downright unconstitutional for the President of the Senate
 to be the presiding officer of the electoral count upon a closer reading
 of the text of the Constitution.2 °4
      No less than the Office of President of the United States is at
 stake during the electoral count. Likewise, no less than the Office of
 President of the United States is at stake during presidential
 impeachment.        Yet, with respect to the latter, the Senate
 Impeachment Clause carefully provides that "[w]hen the President of
 the United States is tried, the Chief Justice shall preside," not the
 President of the Senate. 2 5 Should the electoral count be any different
 when no less may be at stake?
      The Senate Impeachment Clause demonstrates that the Framers
 were quite sensitive to the obvious conflict of interest problem when
 they focused on it.2 6 To be sure, the Framers did not focus on the

    202. 3 U.S.C. § 15 (2000) (emphasis added).
    203. See, e.g., Walz v. Tax Comm'n, 397 U.S. 664, 678 (1970) (stating that "an unbroken
 practice.., is not something to be lightly cast aside" in constitutional interpretation); The
 Pocket Veto Case, 279 U.S. 655, 689 (1929) (stating that a "[ljong-settled and established
 practice is a consideration of great weight in a proper interpretation" of the Constitution);
 cf. Marsh v. Chambers, 463 U.S. 783 (1983) (holding that legislative prayer, which began in
 the First Congress, is constitutional).
   204. This statement may be surprising, but I ask the reader to suspend his or her
 skepticism.
    205. U.S. CONsT. art. I, § 3, cl. 6. But this clause is not nearly as careful as it should
 be-the Framers forgot to specify that the Vice President cannot preside at her own
 impeachment trial, leaving the matter to necessary implication. For thoughtful
 commentaries, see Joel K. Goldstein, Can the Vice President Preside at His Own
 Impeachment Trial?: A Critique of Bare Textualism, 44 ST. LOUiS U. L.J. 849 (2000);
 Michael Stokes Paulsen, Someone Should Have Told Spiro Agnew, 14 CONST. COMMENT.
 245 (1997).
   206. See THE FEDERALIST No. 10, at 47 (James Madison) (Clinton Rossiter ed.,
 Mentor 1999) (1961) ("No man is allowed to be a judge in his own cause, because his
 interest would certainly bias his judgment and, not improbably, corrupt his integrity.");
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 49 of 63

 2002]                    ELECTORAL COUNTACT                                          1699

 similar but less obvious conflict of interest problem when drafting the
 Electoral College Clauses. But the Framers did seem to understand
 and appreciate the general conflict-of-interest problem. When the
 Framers discussed direct presidential election by Congress, they
 considered and agreed to a joint ballot procedure that would require
 a majority of Senators and Representatives who are present
 considered together, in lieu of one that would require the concurrence
 of the two Houses of Congress voting separately. 07 James Wilson,
 supporting the joint ballot procedure, suggested that the Senate might
 have a conflict of interest problem, remarking that "as the President
 of the Senate was to be the President of the U-S. that Body in cases
 of vacancy might have an interest in throwing dilatory obstacles in the
 way, if its separate concurrence should be required. ' ' 20 8 If this interest
 were true of the Senate, it would be particularly true of the Vice
 President.
      More generally, the founders likely understood that the Vice
 President would oftentimes be a candidate for President or Vice
 President in the next election. During the Electoral Count Act
 debates, Senator Hoar, discussing the mood at the founding, stated:
      The President of the Senate would almost always be and
      would be expected to be one of the chief candidates for the
      presidential office. He would have been one of the two
      principal candidates four years before, and it was the fashion
      of those days very much more than of these to continue the
      same person in public trusts and in political candidacy, and
      several times in our history the Vice-President of the United
      States has succeeded to the Presidency, Adams to
      Washington, Jefferson to Adams, Van Buren to Jackson.209
      Even if the Framers and Ratifiers of the original Constitution did
 not understand that the Vice President would be a candidate for
 President or Vice President in the next election, the Framers and
 Ratifiers of the Twelfth Amendment-which overwrote the relevant


 WILLIAM RAWLE, A         VIEW OF THE CONSTITUTION OF THE UNITED STATES OF
 AMERICA 206 (1825) ("As the vice president succeeds to the functions and emoluments of
 the president of the United States whenever a vacancy happens in the latter office, it
 would be inconsistent with the implied purity of a judge that a person under a probable
 bias of such a nature, should participate in the trial, and it would follow that he
 should-wholly to retire from the court."); 2 FARRAND, supra note 35, at 493.
    207. See 2 FARRAND, supra note 35, at 401-03.
    208. Id. at 402-03; see also id at 403 (remarks of James Madison) (supporting the joint
 ballot procedure and observing in passing that "[t]he President of the Senate also is to be
 occasionally President of the U.S.").
    209. 17 CONG. REC. 1019 (1886).
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 50 of 63

  1700               NORTH CAROLINA LAW REVIEW                                      [Vol. 80

 provision of the original Constitution-understood the conflict-of-
 interest problem well, especially given the imbroglio of the electoral
  count of 1801 where Vice President and presidential candidate
 Thomas Jefferson not only presided over the electoral count but also
  assumed the counting function. 10 It is thus possible to say that the
 conflict-of-interest principle applies to the Twelfth Amendment if not
 to the original Constitution.
      There is no evidence from the Electoral College Clauses that the
 President of the Senate shall be the presiding officer of the electoral
 count. In the absence of such evidence, the Senate Impeachment
 Clause supplies a strong argument that the President of the Senate
 shall not be the presiding officer of the electoral count. The
 difference-and perhaps the constitutionally significant difference-
 between presidential impeachment and counting electoral votes may
 be that the Vice President necessarily has a conflict of interest in the
 former because the Vice President is to act as President,2 1 ' whereas
 the Vice President does not necessarily have a conflict of interest in
 the latter because the Vice President may or may not be a candidate
 in the next presidential or vice presidential election. Nevertheless,
 the better reading of the Electoral College Clauses, when read in light
 of the Senate Impeachment Clause and of conflict-of-interest
 principles generally, is that the Vice President, the President of the
 Senate, shall not be the presiding officer of the electoral count. 12 The
                                                                       21 3
 Electoral Count Act may be unconstitutional for this reason alone.

    210. See supra note 3 and text accompanying infra note 230.
    211. See U.S. CONsT. art. II, § 1, cl. 6; U.S. CONST. amend. XXV, § 1.
    212. An interesting question arises whether a Senator or Representative-who may
 also be a presidential or vice presidential candidate-may be the presiding officer of the
 electoral count, even though the Vice President shall not be. The better answer is "Yes."
 Before opening the electoral certificates and inspecting the electoral votes, the identities
 of the presidential or vice presidential candidates are (at least theoretically) unknown, and
 hence it would be impossible to know which Senators or Representatives to exclude from
 the presiding officer's chair. The argument is that the Constitution implicitly assumes that
 the Vice President-more than any other person present at the electoral count-would be
 a presidential or vice presidential candidate, and hence makes the Vice President uniquely
 ineligible to be the presiding officer. As a prudential matter, of course, the presiding
 officer should be someone who is not known to be a presidential or vice presidential
 candidate.
    213. There is one more reason why the "Presiding Officer Clause" of 3 U.S.C. § 15 may
 be unconstitutional. That clause provides that "the President of the Senate shall be their
 presiding officer." 3 U.S.C. § 15 (2000) (emphasis added). What gives Congress the
 authority to super-add to the Vice President's duties specified by the Constitution? See,
 e.g., U.S. CONST. art. I, § 3, cl.  4 ("The Vice President of the United States shall be
 President of the Senate, but shall have no Vote, unless they be equally divided."); U.S.
 CONST. art. II, § 1, cl.6 ("In Case of the Removal of the President from Office, or of his
 Death, Resignation or Inability to discharge the Powers and Duties of the said Office, the
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 51 of 63

 2002]                     ELECTORAL COUNTACT                                           1701

      If the President of the Senate shall not be the presiding officer of
 the electoral count, who then is the presiding officer? The answer to
 this question is simpler than it appears: One of the Senators and
 Representatives then and there present at the electoral count. Each
 parliamentary body has, almost by definition, the right to choose its
 presiding officer and other officers from one of its own, at least in the
 absence of any explicit declaration to the contrary.214 Whether
 Congress may exercise this choice on behalf of the joint convention of
 Senators and Representatives is an entirely different question, and
 one to be discussed later.1 5

       b. Who Opens the Electoral Certificates and Counts the
       Electoral Votes?
      With respect to who does the opening of electoral certificates
 and the counting of electoral votes, the relevant clause of the Twelfth
 Amendment provides that "[t]he President of the Senate shall, in the
 presence of the Senate and House of Representatives, open all the
 certificates and the votes shall then be counted. 2 16 The critical
 question to ask is whether the counting function belongs to the
 President of the Senate or to the Senate and House of
 Representatives. The interpretive stakes are high: If the counting
 function belongs to the President of the Senate, the Electoral Count
 Act is unconstitutional because it vests the counting function in the
 two Houses of Congress, and under the Constitution, Congress may
                                                                 2 17
 not strip the President of the Senate of her constitutional duty.

 Same shall devolve on the Vice President ....); U.S. CONST. amend. XXV, § 1 (similar);
 U.S. CONST. amend. XII ("The President of the Senate shall, in the presence of the Senate
 and House of Representatives, open all the certificates and the votes shall then be
 counted."). IfCongress may add to the Vice President's duties, why not the President's
 duties or the Chief Justice's duties? If "shall" means "must," the Presiding Officer Clause
 of the Electoral Count Act would seem to be, strictly speaking, unconstitutional.
    214. Compare U.S. CONST. art. I, § 2, cl. 5 ("The House of Representatives shall chuse
 their Speaker and other Officers."), and U.S. CONST.art. I, § 3, cl. 5 ("The Senate shall
 chuse their other Officers, and also a President pro tempore, in the Absence of the Vice
 President, or when he shall exercise the Office of President of the United States."), with
 U.S. CONST. art. I, § 3, cl.4 ("The Vice President of the United States shall be President of
 the Senate, but shall have no Vote, unless they be equally divided.").
    215. See infra notes 498-525 and accompanying text.
    216. U.S. CONST. amend. XII.
    217. Others have made this obvious point. See, e.g., 17 CONG. REC. 1059 (1886)
 (remarks of Sen. Wilson) (arguing that the counting function is vested in the President of
 the Senate and that the Necessary and Proper Clause "does not confer on Congress the
 power to assume unto itself the duty which the Constitution imposes on that officer"); 18
 CONG. REC. 74 (remarks of Rep. Baker) ("If the Constitution... does.., by fair
 implication, vest in the President of the Senate the power and duty not only to open, but
 also to count, the votes, then Congress can not, by this or any other legislation, take away
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 52 of 63

  1702               NORTH CAROLINA LAW REVIEW                                       [Vol. 80

       We begin with the first part of the clause: "The President of the
  Senate shall, in the presence of the Senate and House of
  Representatives, open all the certificates. '218 It is clear that the
  opening of the certificates function belongs to the Vice President,
  who is the President of the Senate. 219 The Constitution provides no
  wiggle room:       the President of the Senate shall open all the
  certificates, not some.?


 or transfer to any other person or officer that power and duty."); Paulsen, supra note 205,
 at 245 (noting that each House of Congress may not use the Rules of Proceedings Clause
 to strip the Vice President of constitutional duties); Spear, supra note 18, at 156 ("The
 Constitution says that 'the votes shall then be counted,' and if this mandate be addressed
 to the President of the Senate, that ends the question so far as the counting is concerned.
 The Constitution has then trusted him with the whole power, and any legislation to direct
 him, would be an impertinent intrusion upon his prerogative."); cf. Harrison, supra note
 23, at 703 ("Neither House nor Senate is given any authority over the President of the
 Senate when it comes to opening the certificates, and Congress by statute may no more
 control the exercise of this constitutionally granted authority than it may tell the President
 whom to pardon.").
    218. U.S. CONST. amend. XII.
    219. See U.S. CONST. art. I, § 3, cl. 4 ("The Vice President of the United States shall be
 President of the Senate, but shall have no Vote, unless they be equally divided."). It does
 appear that the President pro tempore acted in place of the Vice President in at least the
 electoral counts of 1809, 1825, 1857, 1877, and most recently 1969 when Vice President
 Hubert H. Humphrey "recused" himself from the electoral count.
    220. There is the rather tricky question whether the President of the Senate must open
 all certificates in a case of multiple returns from the same state, as in the Hayes-Tilden
 incident of 1887, or in a case of a return from a putative state (say for example, a
 certificate from Puerto Rico). The best answer is that the opening-of-the-certificates
 function contains no power of discretion because any discretion in the opening of
 certificates would interfere with the counting-of-electoral-votes function. Translated into
 the recent past: if two certificates had come from Florida during the electoral count of
 2001, the Vice President could not, constitutionally speaking, have refused to open both of
 them.
          In a recent essay, Professor Harrison takes a contrary view on the specific
 question of multiple (putative) electoral certificates. In his view, "[t]he certificates that
 the President of the Senate is to open, however, are those of the electors, not those of non-
 electors. Hence in order to know which certificates to open, the President of the Senate
 must know vhich of competing slates of electors were validly appointed." Harrison, supra
 note 23, at 702-03. This is a clever (and obvious) textual argument. He continues: "If the
 Twelfth Amendment is assumed to be a dispute resolution mechanism, a natural reading
 of it thus indicates that in one especially important context the dispute is to be resolved by
 a single individual." Id. at 703. The vice of this reading, as Professor Harrison
 acknowledges, is that one person has the power to resolve at least one kind of dispute in
 presidential election, a conclusion that is generally to be avoided.               Indeed, he
 acknowledges in his very next paragraph that "[i]t would be much easier to believe that
 this important decision was vested in a collective body, were there not serious problems
 with the operation of the collective body, the joint session of Congress (if it is to be called
 that)." Id. Notwithstanding the latter "problems" (which are overstated in my view),
 Professor Harrison ignores the point that in the case of multiple putative electoral
 certificates, the opening of the certificates function interferes with the counting-of-
 electoral-votes function. The former enables the latter; the former is more of an
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 53 of 63

2002]                    ELECTORAL COUNTACT                                            1703

      The counting function is, however, noticeably ambiguous: "[t]he
President of the Senate shall, in the presence of the Senate and House
of Representatives, open all the certificates and the votes shall then be
counted." There are two plausible readings of this oddly phrased text
employing the passive voice. 21 The counting function may be read as
one vested in the President of the Senate, or jointly in the Senate and
House of Representatives.          22   If the President of the Senate is to count
the votes, the clause easily could have been written to provide that
"[t]he President of the Senate shall... open all the certificates and

"exercise" whereas the latter is more of a "function." Moreover, the former is simply less
important than the latter-a President and Vice President elect are determined after the
electoral votes are actually counted, not when the electoral certificates are opened. The
better answer, I submit, is that the President of the Senate has discretion in the opening-
of-electoral-certificates function only if she also has the counting-of-electoral-votes
function, and even then, that discretion would follow as a matter of the latter function, not
the former.
         This scenario of multiple putative electoral certificates was the subject of
discussion during the Electoral Count Act debates, given the cases of double returns in the
electoral counts of 1873 and 1877. For statements that the President of the Senate has no
discretion in opening the certificates in the case of multiple returns, see, for example,
COUNTING ELECTORAL VOTES, supra note 3, at 446-47 (remarks of Sen. Bayard); id. at
449-50 (remarks of Sen. Thurman). But see id. at 454 (remarks of Sen. Morton) (arguing
that President of the Senate's discretion in opening certificates "shows the necessity for an
amendment of the Constitution").
   221. "The famous phrase of the Constitution 'the votes shall then be counted' has been
like an apple of discord almost since the beginning of Government." J. HAMPDEN
DOUGHERTY, THE ELECTORAL SYSTEM OF THE UNITED STATES 254 (1906); see also
Albert J. Rosenthal, The Constitution, Congress, and PresidentialElections, 67 MICH. L.
REV. 1, 27 (1968) (noting that the passive voice of this phrase breaks one of the "cardinal
rules of draftsmanship"); Tribe, supra note 17, at 279 ("The Framers should have listened
to the time-honored injunction to avoid the passive voice. 'Shall be counted'-by
whom?").
        During the Electoral Count Act debates, Representative Herbert carefully
examined the grammar of this patch of constitutional text:
     Here is a duty imposed upon the President of the Senate. He shall, in the
     presence of the Senate and House of Representatives, open the certificates.
     Then the first person is dropped and the third person is taken up; there the
     sentence changes its construction; there the duty imposed upon the President of
      the Senate ceases, and afterwards a new part of speech is used-the third person
     is adopted, and a verb relating to a noun in the third person, "the votes,"
     employed, and a new duty imposed by the words, "and the votes shall then be
     counted."
18 CONG. REc. 75 (1886).
   222. The ambiguity is well-evidenced in the congressional debate over the electoral
count. See, e.g., COUNTING ELECTORAL VOTES, supra note 3, at 48 (remarks of Sen.
Wilson) ("It is not said who shall count the votes, nor who shall decide what votes shall be
counted."); id. at 451 (remarks of Sen. Frelinghuysen) ("So when the Constitution says the
vote shall be counted, it says that a decision shall be made by some one, and it must be
made either by the presiding officer of the Senate or by the Senate and House, who are
required to be present."); see also Spear, supra note 18, at 156 (noting a similar point).
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 54 of 63

  1704                NORTH CAROLINA LAW REVIEW                                      [Vol. 80

  shall then count the votes."'           If the Senate and House of
  Representatives are to count the votes, the clause easily could have
  been written to provide that "[t]he President of the Senate shall, in
  the presence of the Senate and House of Representatives, open all
  the certificates and the votes shall then be counted by the Senate and
  House of Representatives."224
       The text does not equally support these two plausible readings
  once we escape a narrow "clause-bound" interpretivism. When read
  in light of the conflict-of-interest principle of the Senate
  Impeachment Clause, the better answer (again, but by no means an
  unassailable one) is that the counting function of the Electoral
  College Clauses is vested in the Senate and House of Representatives,
  not the President of the Senate. To be sure, the Constitution does not
  explicitly address how the Senate and House of Representatives is to
  exercise the counting function-by the two Houses acting separately


     223. This obvious point was made during the Electoral Count Act debates. See, e.g., 18
  CONG. REc. 46 (remarks of Rep. Dibble).
     224. These are the two most obvious readings, but there are at least four other
  readings. A third reading is that the Clause is simply silent as to who shall count the votes
  and that Congress may specify the counting agent.
          A fourth reading, suggested by Representative Dibble during the Electoral Count
  Act debates, is that the counting function is split between the House of Representatives
  and the Senate: the House is to count the presidential votes and the Senate the vice
  presidential votes, because, in case of deadlock, the House chooses the President and the
  Senate the Vice President. See 18 CONG. REC. 46. There is no textual or historical
  support whatsoever for this reading. Moreover, this reading would have been impossible
  before the adoption of the Twelfth Amendment which required Electors to cast separately
  marked votes for President and Vice President, and it is unlikely that the Twelfth
  Amendment added to the evident textual ambiguity.
           A fifth reading, suggested by Senator Thompson during the electoral count of
  1857, makes even less sense. He suggested that the counting function is vested solely in
  the Senate, with the House only present as witnesses. See, e.g., COUNTING ELECTORAL
  VOTES, supra note 3, at 126 ("The Constitution, in my judgment, is that these votes are to
  be returned to us and counted by us, and the House of Representatives are admitted to be
  present at the count to prevent a combination, a clandestine operation, a secret session, a
  coup d'etat."); id at 130 ("When we are counting the votes, (for the President of the
  Senate only counts them in his official capacity, and in the session of the Senate, because
  he cannot count them as a private individual,) it is improper for the House members to be
  anything but listeners."); id at 136 ("The members of that House of Representatives are
  to sit by, and whether we put them in the gallery, or the reporters' desks, or in niches-
  wherever they are placed they are to look on.").
           Finally, a sixth reading, suggested by Senator Call in 1876, is equally nonsensical.
  He suggested that the counting function is vested solely in the House of Representatives,
  because the Constitution vests in that body the duty to choose the President in case there
  is no winner in the Electoral College mode of presidential election, see U.S. CONST.
  amend. XII, and only that body may determine whether there is such a winner. See 17
  CONG. REc. 1061 (1886); see also id. at 1019 (remarks of Sen. Hoar) (acknowledging and
  dismissing as incorrect this view of the counting function).
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 55 of 63
2002]                    ELECTORAL COUNTACT                                            1705

in their corporate capacities, or by the two Houses acting conjointly
as one "House" of Senators and Representatives. 225 In addition,
when we consider early state constitutions,2 26 we see that early state
constitutions did not vest the counting of electoral votes in any one
person. 27

  225. The Constitution only requires that the Senate and House of Representatives, as
separately organized bodies, be present as witnesses for the opening of electoral
certificates and (probably) the counting of electoral votes (to the extent that the "in
presence of the Senate and House of Representatives" phrase modifies the counting
phrase, "the votes shall then be counted," see infra notes 278-86 and accompanying text),
but does not address whether the counting of electoral votes is to be done by the Senate
and House of Representatives as such or by Senators and Representatives on a per capita
vote basis (equivalent to the Senate and House of Representatives voting by joint ballot).
Other scholars have noted similar points. See, e.g., Tribe, supra note 17, at 279 ("Is any
such [counting] authority reposed instead in one or another House, or in the two Houses
acting concurrently, or in the two Houses acting as a single organ even though not
precisely as the Congress of the United States?"); and Harrison, supra note 23, at 703.
Professor Harrison states:
     How is the joint session [of the Senate and House of Representatives] to make
     decisions? The Constitution provides no explicit rule, and certainly does not
     indicate that the House and Senate are to be put together into one body that will
      act by majority vote. Rather, the two chambers appear to retain their separate
     identities: the certificates are to be opened in the presence, not of the Senators
      and Representatives, but of the Senate and the House.
IL For various textual and largely structural reasons, I conclude that the counting of
electoral votes is to be done by joint ballot of Senators and Representatives. See infra
notes 291-313 and accompanying text (discussing unicameralism principle); infra notes
429-45 and accompanying text (discussing anti-Senate principle of presidential election);
infra notes 526-53 and accompanying text (discussing Chadha principle of law-making).
   226. For a classic use of early state constitutions to inform the meaning of provisions in
the Constitution, see THE FEDERALIST NO. 47, at 271-76 (James Madison) (Clinton
Rossiter ed., Mentor 1999) (1961) (surveying the early state constitutions in discussing the
separation of powers).
   227. During the Electoral Count Act debates, Senator Hoar made this point, though he
did not cite specific provisions from early state constitutions. See 17 CONG. REC. 1019.
For specific provisions, see, for example, the constitutions of the following states:
          Delaware: "A president or chief magistrate shall be chosen by joint ballot of both
houses, to be taken in the house of assembly, and the box examined by the speakers of
each house in the presence of the other members ...." DEL. CONST. OF 1776, art. 7
(emphasis added). Maryland:
      That a person of wisdom, experience, and virtue, shall be chosen
      Governor,... by the joint ballot of both Houses (to be taken in each House
      respectively) deposited in a conference room; the boxes to be examined by a
     joint committee of both Houses, and the numbers severally reported, that the
      appointment may be entered ....
MD. CONST. OF 1776, art. XXV (emphasis added). Massachusetts:
      The selectmen of the several towns shall preside at such meetings impartially, and
      shall receive the votes of all the inhabitants of such towns, present and qualified
      to vote for senators, and shall sort and count them in open town meeting, and in
      presence of the town clerk, who shall make a fair record, in presence of the
      selectmen, and in open town meeting, of the name of every person voted for, and
      of the number of votes against his name ....
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 56 of 63
  1706               NORTH CAROLINA LAW REVIEW                                    [Vol. 80

       The history, however, undercuts these fundamental textual and
  structural considerations. The Framers clearly thought that the
  counting function was vested in the President of the Senate alone. In
  a unanimous resolution attached to the final Constitution, the
  Framers described the procedures for electing the first Chief
  Executive, recommending in relevant part "that the Senators should
  appoint a President of the Senate, for the sole Purpose of receiving,
  opening and counting the Votes for President."' The records of the
  First Congress confirm this construction. On April 6, 1789, Senator
  John Langdon was elected as President of the Senate "for the sole
  purpose of opening and counting the votes for President of the
  United States."' 9 This early practice should be of limited
  precedential value, however, because they relate to the creation of
  the Government of the United States before a President and Vice
  President were ever elected.
       The dangers of this initial construction soon appeared when
  Presidents of the Senate were also candidates for President or Vice
  President. In the electoral count of 1797, President of the Senate
  John Adams purportedly counted "improper votes" from Vermont,

  MASS. CONST. OF 1780, pt. 2, ch. 1, § H, art. II. Also Massachusetts:
      Those persons who shall be qualified to vote for Senators and
      Representatives ... shall.., give in their votes for a Governor to the Selectmen,
      who shall preside at such meetings; and the Town Clerk; in the presence and with
      the assistance of the Selectmen, shall, in open town meeting, sort and count the
      votes, and form a list of the persons voted for, with the number of votes for each
      person against his name; ....
 MASS. CONST. OF 1780, pt. 2, ch. 2, § I, art. III (emphasis added). Vermont:
      [A]t the opening of the General Assembly, there shall be a committee appointed
      out of the Council and Assembly, who, after being duly sworn to the faithful
      discharge of their trust, shall proceed to receive, sort, and count, the votes for the
      Governor, and declare the person who has the major part of the votes, to be
      Governor, for the year ensuing.
 VT. CONST. OF 1777, ch. 2 § XVII (emphasis added). Virginia:
      A Governor, or chief magistrate, shall be chosen annually by joint ballot of both
      Houses (to be taken in each House respectively) deposited in the conference
      room; the boxes examined jointly by a committee of each House, and the
      numbers severally reported to them, that the appointments may be entered ....
 VA. CONST. OF 1776, cl. 29 (emphasis added). Other early state constitutions providing
 for the election of the executive authority by the legislature (for example, Georgia, North
 Carolina, New Jersey, Pennsylvania, and South Carolina) or by direct popular election
 (for example, New York) did not address the counting of such votes. See, e.g., GA.
 CONST. OF 1777, art. XXIII; N.C. CONST. OF 1776, art. XV; N.J. CONST. OF 1776, art. VII;
 PA. CONST. OF 1776, § 19; S.C. CONST. OF 1776, art. III.
   228. 2 FARRAND, supra note 35, at 666; see also Burgess, supra note 18, at 647 ("The
 [F]ramers of the constitution undoubtedly meant that the president of the Senate should
 count the electoral votes .... ).
   229. 1 ANNALS OF CONG. 16-17 (Joseph Gales ed., 1789).
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 57 of 63

2002]                    ELECTORAL COUNTACT                                         1707

and in the electoral count of 1801, President of the Senate Thomas
Jefferson purportedly counted dubious electoral votes from
Georgia. 30 By 1800, some members of the Senate of the Sixth
Congress interpreted the counting language as vesting the counting
function in the "members composing" the Senate and the House of
Representatives, 3 1 and to the extent there is any difference, Senator
Pinckney interpreted the counting language as vesting the counting
function in "Congress." 23
     The Twelfth Amendment, adopted in 1804, did not resolve the
textual ambiguity between the first two readings of the counting
function. In fact, it contains language identical to that found in
Article II, Section 1, Clause 3. However, as Dean Wroth has
suggested, it is arguable that, with the later precedents, the Twelfth
Amendment changed the original understanding of the counting
function, shifting this function from the President of the Senate to the
Senate and House of Representatives. 3 But early commentators on


   230. See Tansill, supra note 22, at 516; Wroth, supra note 22, at 326 n.23; see also
COUNTING     ELECTORAL VOTES, supranote 3, at 116 (remarks of Sen. Reid) ("It has often
happened that the Vice-President is a candidate for re-election; and we can scarcely
suppose that the Constitution intended to confer on him the power of declaring himself
elected by the votes he may count, without an appeal from his decision."). For more on
the history of self-counting, see COUNTING ELECTORAL VOTES, supra note 3, at 533
(remarks of Sen. Morton) (presenting history of self-counting in 1797, 1801, 1821, 1837,
1841, and 1861); Harrison, supra note 23, at 703 n.12 (providing more examples).
   231. See 10 ANNALS OF CONG. 120 (1800). The bill stated:
     And the constitution of the United States having directed that "the President of
     the Senate shall, in the presence of the Senate and House of Representatives,
     open all the certificates, and that the votes shall then be counted," from which
     the reasonableinference and practice has been, that they are to be counted by the
     members composing the said Houses, and brought there for that office, no other
     being assigned them; and inferred the more reasonably, as thereby the
     Constitutional weight of each State in the election of those high officers is exactly
     preserved in the tribunalwhich is to judge of its validity: the number of Senators
     and Representatives from each State, composing the said tribunal, being exactly
     that of the Electors of the same State ....
Id. (emphasis added).
   232. 3 FARRAND, supra note 35, at 386 (remarks of Sen. Pinckney, Mar. 28, 1800) ("It
is made their [Congress's] duty to count over the votes in a convention of both Houses,
and for the President of the Senate to declare who has the majority of the votes of the
Electors so transmitted.") (emphasis added). Indeed, there is an important difference
between the "Congress" and the "Senate and the House of Representatives." The word
"Congress" necessarily implies the two Houses of Congress acting independently in their
corporate capacities, whereas the text of the Constitution is more ambivalent-allowing
for the two Houses of Congress acting independently in their corporate capacities or for
the two Houses of Congress acting conjointly in one corporate capacity.
   233. See Wroth, supra note 22, at 327 & n.28 (examining language of implementing Act
of Twelfth Amendment, Act of March 26, 1804, ch. 50, 2 Stat. 295, and language used in
the electoral count of February 13, 1805).
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 58 of 63

  1708               NORTH CAROLINA LAW REVIEW                                     [Vol. 80

  the Constitution, such as Chancellor James Kent and Professor
  William Duer, writing in the wake of the Twelfth Amendment,
  thought that4 the counting function still belonged to the President of
  the SenateY
       The Wisconsin Incident of 185721 probably stands as a paradigm
  case in support of the proposition that the counting function belongs
  to the Senate and House of Representatives and not to the President
  of the Senate. During the Wisconsin Incident, Senator Pugh noted
  the obvious conflict-of-interest problem if the President of the Senate
  had sole responsibility for counting, calling it a "power higher than
  the veto." 6 During the Electoral Count Act debates, Senator
  Bayard keenly observed that the President of the Senate "cannot
  even count" the electoral votes; that "[h]e cannot even inspect them,
  except in the incidental and casual manner that is implied by the fact
  that his hand shall open the sealed envelope which contains the list of
  the electoral vote." 37 Representative Caldwell recalled the President
  of the Senate's unsuccessful attempts to assume the counting function
  in the Wisconsin Incident of 1857 and the Hayes-Tilden Incident of
  1877,238 and described the primary purpose of the Electoral Count
  Act as "decid[ing], first, that the power to count the vote is not in the
  President of the Senate." 9


     234. Chancellor Kent stated:
       I presume, in the absence of all legislative provision on the subject, that the
       President of the Senate counts the votes, and determines the result, and that the
       two houses are present only as spectators, to witness the fairness and accuracy of
       the transaction, and to act only if no choice be made by the electors.
  2 KENT'S COMMENTARIES, supra note 19, at *276-77; see DUER'S COMMENTARIES, supra
  note 19, at 88-89 (similar). Note that Chancellor Kent seems to believe that Congress may
  by law take the counting function away from the President of the Senate; the source of
  Congress's power to do so is unclear. The question of Congress's source of power to enact
  legislation regulating the counting function is discussed in Part II.A.2 infra.
     235. See supra notes 132-42 and accompanying text.
     236. COUNTING ELECTORAL VOTES, supra note 3, at 135. Representative Humphrey
  Marshall stated his belief that "I am sure that the duty of determining whether a vote shall
  be counted belongs to the Senate and House, and not to the President of the Senate." Id.
  at 96; see also id at 113 (remarks of Sen. Butler) (noting obvious conflicts of interest
  problem). However, as late as the Wisconsin Incident of 1857, some Members of
  Congress believed that the President of the Senate had the sole power to decide what to
  count and what not to count. See, e.g., idL at 134 (remarks of Sen. Stuart).
     237. 1& at 445 (remarks of Sen. Bayard).
     238. See 18 CONG. REC. 30 (1886) (remarks of Rep. Caldwell); see also 17 CONG. REC.
  815 (1886) (remarks of Sen. Sherman) (noting the President of the Senate's attempt to
  assume the counting function in the electoral count of 1857); 18 CONG. REC. 75 (remarks
  of Rep. Herbert) (noting the President of the Senate's attempt to assume the counting
  function in the electoral count of 1877).
     239. 18 CONG. REC. 30.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 59 of 63

 2002]                    ELECTORAL COUNTACT                                          1709

      The best interpretation as a matter of text and the better
 interpretation as a matter of history is that the counting function is
 vested in the Senate and House of Representatives. This does not
 answer, however, whether the counting function is delegable. The
 relevant text of the Constitution is best read to exclude counting by
 unnamed agents, notwithstanding general constitutional limits to the
 delegation of powers. The consensus view of the Members of
 Congress during the Electoral Count Act debates was that the
 counting function is not delegable. 4 Moreover, the related textual
 considerations of the "when" and "where" of counting electoral votes
 strongly militate against the delegation of the counting function to
 unnamed agents-including coordinate branches of government such
 as the federal judiciary.241
      A final consideration is whether the President of the Senate has a
 vote in the counting function when questions arise. Although the
 counting of electoral votes takes place in the presence of the
 President of the Senate, the President of the Senate participates no
 more in the counting function than she participates in trial of
 impeachment-in neither case does the Vice President have a vote.242
 The Constitution carefully circumscribes the participation of the Vice
 President in the business of the Senate: "The Vice President of the
 United States shall be President of the Senate, but shall have no Vote,


    240. For the historical view, see, for example, COUNTING ELECTORAL VOTES, supra
 note 3, at 445 (remarks of Sen. Bayard) ("That you could not delegate that power to
 another body I cannot doubt."); id. at 531 (remarks of Sen. Boutwell) ("Congress must
 exercise the power and perform the duty, and it is not possible under the Constitution to
 transfer it to anybody else."); 18 CONG. REc. 51 (remarks of Rep. Adams) ("I can not
 conceive that any statute can take away from either of these two legislative bodies the
 power to come to a yes or no on any question relating to the business they then have in
 hand under the provisions of the Constitution.").
           The scholarly view also supports the non-delegation of the counting function. See,
 e.g., Ross & Josephson, supra note 7, at 715 ("We agree with Pinckney that the Grand
 Committee procedure proposed in 1800 was unconstitutional because we do not believe
 Congress could delegate its joint power to count to a committee of selected members.");
 Spear, supra note 18, at 157 (observing that if the counting power is lodged in the two
 Houses of Congress, Congress cannot delegate the counting power to a committee "any
 more than it can establish a commission to levy taxes, or declare war").
    241. See text accompanying infra notes 267-313.
    242. But cf.RAWVLE, supra note 206, at 206. Rawle argued that:
       It is not stated in the Constitution whether the president of the senate is on the
       trial of an impeachment restricted, as in legislative cases, to the casting vote. As
       he is constituted one of the judges by being appointed to preside without any
       restriction, the fair inference would be, that he is entitled to vote like the other
       judges, but on the trial last mentioned of a judge of the Supreme Court, the vote
       of the vice president does not appear in the printed journal.
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 60 of 63

 1710                NORTH CAROLINA LAW REVIEW                                       [Vol. 80

 unless they be equally divided."' 43 The joint convention of the Senate
 and House of Representatives-assembled for the purpose of the
 electoral count-is most decidedly not the Senate. To be sure, the
 Electoral Count Act provides that, upon any objection to an electoral
 vote, the Senate shall separately withdraw to consider the objection.2245
                                                                        "
 Notwithstanding constitutional objections to this bicameralism,
 neither textual nor structural reasons suggest that the President of the
 Senate's tie-breaking vote in the Article I business of the Senate
 applies to any Article II business of the Senate in counting electoral
 votes.246


   243. U.S. CONST. art. I, § 3, cl. 4.
    244. See 3 U.S.C. § 15 (2000).
    245. See infra notes 287-313, 526-53 and accompanying text.
    246. As a related matter, it is not at all clear that the Vice President may cast a tie-
 breaking vote in a contingency election for Vice President in the Senate should there be
 no winner under the electoral college mode of vice presidential election. U.S. CONST.
 amend. XII provides:
      The person having the greatest number of votes as Vice-President, shall be the
      Vice-President, if such number be a majority of the whole number of Electors
      appointed, and if no person have a majority, then from the two highest numbers
      on the list, the Senate shall choose the Vice-President; a quorum for the purpose
      shall consist of two-thirds of the whole number of Senators, and a majority of the
      whole number shall be necessary to a choice.
           Some scholars have suggested that the Vice President could cast such a tie-
 breaking vote. See, e.g., Ho, supra note 195, at 239 n.47; Levinson & Young, supra note
 195, at 934 n.37. At least one scholar has raised the possibility that the Vice President
 could not cast such a tie-breaking vote. See Akhil Reed Amar, President Thurmond?
 (Nov. 2, 2000), at http://slate.msn.com/?id=1006401 (on file with the North Carolina Law
 Review).
           There are some very good reasons to seriously doubt that the Vice President could
 cast such a tie-breaking vote. As a textual matter, the Vice President is not a "Senator"
 and the Twelfth Amendment ostensibly requires a majority of the whole number of
 Senators-today,fifty-one Senators. If there is no majority of Senators in a contingency
 election for Vice President in the Senate, the Senate would have to choose again. Note
 that the same is true in the House of Representatives where there is no arbiter to cast a
 tie-breaking vote. If there is no majority of states in a contingency election for President in
 the House of Representatives, the House would have to choose again. We have seen this
 done before:       In the contingency election for President in 1801, the House of
 Representatives completed thirty-five rounds of balloting before choosing a President, see
 supra note 3.
           More generally: The Framers generally understood and appreciated the conflict
 of interest problems of the Vice Presidency, see supra notes 204-13 and accompanying
 text. It is worth hesitating before concluding that one person has the power to determine
 an election, particularly (but not only) when that one person would be likely to benefit
 from the decision. While it is true that other Senators may have conflict of interest
 problems because they too could be candidates for Vice President, it is one thing to say
 that a Senator may vote for himself or herself along with other Senators, and quite another
 to give the decisive vote to one man or woman. The Vice President's tie-breaking vote is
 decisive in a way that the votes of Senators are not. Interestingly, when the Framers
 contemplated direct presidential election by Congress, they rejected without discussion
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 61 of 63

 2002]                     ELECTORAL COUNTACT                                           1711

     c. What Is Counting and What Is To Be Counted?
     Two significant and interrelated questions remain. First, what is
 counting? Second, what is to be counted? Again, the relevant
 constitutional text provides that "[t]he President of the Senate shall,
 in the Presence of the Senate and House of Representatives, open all
 the Certificates, and the Votes shall then be counted."'247 As has been
 documented extensively, the word "shall" is a word of obligation.24

 giving the Vice President a tie-breaking vote. See 2 FARRAND, supra note 35, at 403
 ("Mr[.] Read moved 'that in case the numbers for the two highest in votes should be
 equal, then the President of the Senate shall have an additional casting vote,' which was
 disagreed to by a general negative.").
          Finally, if the theory is that the Vice President's power to cast tie-breaking votes
 only applies to Article I business (legislation and the internal matters of the Senate,
 including the election of Senate officers and the appointment of Senate committees) and
 not to Article II or Twelfth Amendment business, then it would also follow that the Vice
 President would not have a tie-breaking vote under the Treaty Clause or the
 Appointments Clause, which both appear in Article II. See U.S. CONST. art. II, § 2, cl. 2.
 This appears to be the case, reinforcing the arguments above. It is not possible for the
 Vice President to cast a tie-breaking vote with respect to treaties which require a two-
 thirds majority of Senators, see id., but it is possible for the Vice President to do so with
 respect to presidential nominations under the Appointments Clause, which only require a
 majority of Senators. Notwithstanding, Alexander Hamilton intimated early on that the
 Vice President could not cast a tie-breaking vote on presidential nominations under the
 Appointments Clause. See THE FEDERALIST No. 69, at 389 (Alexander Hamilton)
 (Clinton Rossiter ed., Mentor 1999) (1961) ("In the national government, if the Senate
 should be divided, no appointment could be made; in the government of New York, if the
 council should be divided, the governor can turn the scale and confirm his own
 nomination."). The lack of mention of the Vice President is surprising given that he
 discussed the Vice President (and her tie-breaking vote) in the immediately preceding
 essay, see THE FEDERALIST No. 68, at 47 (Alexander Hamilton) (Clinton Rossiter ed.,
 Mentor 1999) (1961), but perhaps he thought that the Vice President would not
 necessarily act in accordance with the President's interests (recall that prior to the
 development of the party system, the Vice President was merely the runner-up in the
 presidential election and oftentimes the chief opponent of the President). Only once in
 our nation's history, to my knowledge, has a Vice President cast a tie-breaking vote on a
 presidential appointment. In 1832, President Andrew Jackson nominated Senator Martin
 Van Buren as ambassador to Great Britain. The Senate split evenly, and Vice President
 Calhoun broke the tie by voting against President Jackson's nomination. See Vice
 Presidents of the United States, Martin Van Buren (1833-1837), at
 http://www.senate.gov/learning/stat.vp8.html (last visited Apr. 17, 2002) (on file with the
 North Carolina Law Review). Vice President Calhoun's negative vote was unnecessary of
 course, as a tie vote is widely considered to be defeated, though some accounts treat his
 vote as the "deciding vote." See, e.g., id.
   247. U.S. CONST. amend. XII (emphasis added).
   248. See Robert N. Clinton, A Mandatory View of Federal Court Jurisdiction: Guided
 Quest for the Original Understandingof Article III, 132 U. PA. L. REV. 741, 782 & n.147
 (1984) (stating that the Framers used "shall" as a word of obligation and "may" as a word
 of discretion and providing numerous examples in the Constitution); see also 2 FARRAND,
 supra note 35, at 485-86 (stating that the Framers carefully distinguished between the
 words "ought," "shall," and "may" in the drafting of the Full Faith and Credit Clause, U.S.
 CONST. art. IV, § 1). Indeed, the Electoral College Clauses make the point amply: the
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 62 of 63

 1712               NORTH CAROLINA LAW REVIEW                                    [Vol. 80

 The Electoral College Clauses do not say "and the Votes may then be
 counted."
      Ardent textualists will readily notice two points. First, what is
 the significance of the difference between "Certificates" and
 "Votes"? The Constitution says that only the "Votes" are to be
 counted. Second, what is the significance of the word "all" and its
 selective use and seeming disuse? The Constitution says that "all" of
 the certificates are to be opened but does not say that "all" of the
 votes shall then be counted. Are these subtle textual distinctions a
 grant of power to the counting agent not to count all votes?
      The ultimate question is whether counting is, on balance, a
 ministerial or judicial act. If counting is a ministerial act, it is one of
 ascertainment and aggregation-Congress is simply a "central
 collecting agency" and a "tabulating point." 49 This view has some
 support in the purpose of the Electoral College Clauses. There would
 be no need for Congress to aggregate electoral votes if the electors
 met at some central location, but it was precisely to avoid the
 potential for cabal and corruption that the Electoral Colleges Clauses
 provide that the electors should meet in their respective states. ° We
 shall call this the "thin" conception of the counting function.21

 word "shall" is used some eighteen times and the word "may" is used once. See U.S.
 CONST. art. II, § 1, cI. 4 ("The Congress may determine the Time of chusing the Electors,
 and the Day on which they shall give their Votes; which Day shall be the same throughout
 the United States.") (emphasis added).
   249. 115 CONG. REC. 168-69 (1969) (remarks of Rep. Rarick during the Bailey
 Incident of 1969).
   250. See, e.g., THE FEDERALIST NO. 68, supra note 246, at 380 ("Nothing was more to
 be desired [in the use of the Electoral College mode of presidential election] than that
 every practicable obstacle should be opposed to cabal, intrigue, and corruption."); 4 THE
 DEBATES IN THE SEVERAL STATE CONVENTIONS ON THE ADOPTION OF THE FEDERAL
 CONSTITUTION 122 (Jonathan Elliot ed., 2d ed. 1836) [hereinafter ELLIOT'S DEBATES]
 (remarks of William Davie at North Carolina ratifying convention) ("He is elected on the
 same day in every state, so that there can be no possible combination between the
 electors."). At the North Carolina ratifying convention, James Iredell remarked:
       Had the time of election been different in different states, the electors chosen in
       one state might have gone from state to state, and conferred with the other
       electors, and the election might have been thus carried on under undue
      influence. But by this provision, the electors must meet in the different states on
       the same day, and cannot confer together. They may not even know who are the
       electors in the other states. There can be, therefore, no kind of combination. It
      is probable that the man who is the object of choice of thirteen different states,
      the electors in each voting unconnectedly with the rest, must be a person who
      possesses, in high degree, the confidence and respect of his country.
 4 id. at 105. Sen. Rufus King later remarked:
       [M]embers of the General Convention... did indulge the hope, by apportioning,
      limiting, and confining the Electors within their respective States, and by the
      guarded manner of giving and transmitting the ballots of the Electors to the Seat
Case 1:20-cv-03791-JEB Document 22-5 Filed 02/05/21 Page 63 of 63

 2002]                     ELECTORAL COUNTACT                                            1713
      If counting is a judicial act, then Congress sits as a court of
 sorts-a "court of last resort"z25-checking the actions of electors in
 the electoral colleges. We shall call this the "thick" conception of the
 counting function. As Professor Spear nicely summarized, counting,
 "inso far as it is a mere enumeration and aggregation of units, is a
 purely ministerial act; but, in so far as it involves any judgment as to
 what votes shall be counted, it is a judicial,or, at least, quasijudicial
 act." 3 Clearly, there is no clean break between the "thin" and
 "thick" conceptions of the counting function. Even the "thin"
 conception requires some ascertainment of what is to be counted.Y4
      The debates over the drafting of the Electoral College Clauses at
 the Philadelphia Convention of 1787 suggest that the Framers had the
 ascertainment issue in mind. The Framers rejected a proposal by
 James Madison and Hugh Williamson to insert the phrase "who shall
 have balloted" after the word "Electors." The purpose of this
 proposal was "so that the non voting electors not being counted might
 not increase the number necessary as a majority of the whole-to
 decide the choice without the agency of the Senate." 5 John
 Dickinson successfully moved to insert after "Electors" the word
 "appointed." Thus, under the Electoral College Clauses, the requisite
 number of electoral votes needed for victory is "a Majority of the
 whole Number of Electors appointed." 6 This drafting history
 suggests that the Framers considered the possibility that there might
 not be a "vote"-but only if an elector shall not have balloted. They
 did not consider the possibility that an electoral vote might be
 unconstitutional. While silence is difficult to interpret, the Framers'


      of Government, that intrigue, combination, and corruption, would be effectually
      shut out, and a free and pure election of the President of the United States made
      perpetual.
 3 FARRAND, supra note 35, at 461 (Mar. 18, 1824); see also 1 KENT'S COMMENTARIES,
 supra note 19, at *280 ("These electors assemble in separate and distantly detached
 bodies, and they are constituted in a manner best calculated to preserve them free from all
 inducements to disorder, bias, or corruption.").
    251. Professor Amar has suggested, albeit in passing, that the counting function is
 ministerial. See Amar, supra note 10, at 229 ("In counting votes, Congress performs in
 effect a ministerial function, registering the will of the voters in the electoral college.").
    252. 115 CONG. REc. 158 (remarks of Rep. Corman during the Bailey Incident of
 1969).
    253. Spear, supra note 18, at 156.
    254. See iL (noting that the counting function "must, to some extent, be judicial, in
 order that it may be ministerial and declarative. It is not possible to count,... without
 deciding what shall be counted").
    255. 2 FARRAND, supranote 35, at 515.
    256. U.S. CONsT. art. II, § 1, cl. 3; U.S. CONST. amend. XII.
